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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NATHSON E. FIELDS,                                )
         Plaintiff,                               )
                                                  )      No. 10 CV 1168
         v.                                       )
                                                  )      Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                           )
          Defendants.                             )

                       PLAINTIFF’S LOCAL RULE 56.1(b)(3)
              RESPONSE TO CITY DEFENDANTS’ STATEMENT OF FACTS

         Plaintiff Nathson Fields, through his attorneys, respectfully submits the following

response to City Defendants’ Local Rule 56.1(A)(3) Statement of Facts in

support of their Motion for Summary Judgment, pursuant to Fed. R. Civ. P. 56 and

Local Rule 56.1(b)(3):

I.        PARTIES, VENUE, JURISDICTION

         1.     Plaintiff Nathson Fields is a United States citizen. (Exhibit 1, Plaintiff’s

Third Amended Complaint, ¶6).

         Response:    Paragraph six of the complaint does not state that Plaintiff is a
                      citizen of the United States. Nevertheless, Plaintiff admits he is a
                      citizen of the United States.

         2.     In 1984, Fields was a member of the El Rukn street gang (Exhibit 1,

Plaintiff’s Third Amended Complaint, ¶6), holding the rank of Officer. (Exhibit 2,

Plaintiff’s Deposition, p. 87). The El Rukns’ hierarchy in 1984 consisted of Jeff

Fort as the Chief, followed by Generals, then Officers, then Ambassadors, then

Soldiers. (Id. at 86-87).
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      Response:     Plaintiff objects, as this Statement of Fact is not relevant and not
                    material. In addition, Plaintiff notes that page 86 was not attached
                    to Defendants’ Exhibit 2.

                    Plaintiff admits that in 1984 he was a member of the El Rukn
                    street gang and that he held the rank of Officer.

                    Plaintiff admits that in 1984 ambassadors were above soldiers in
                    the hierarchy.

                    Plaintiff denies the remaining propositions as unsupported.

      3.      Defendant, the City of Chicago (“City”) is a municipal corporation

duly incorporated under the laws of the State of Illinois. (Exhibit 3, City of Chicago’s

Answer to Third Amended Complaint, ¶7).

      Response:     Plaintiff admits.

      4.      Defendants David O’Callaghan, Thomas Richardson, Stephen Casto,

James Minogue, Joseph Bogdalek, Joseph Murphy, Steven Hood, Robert Evans,

Daniel Brannigan, John Robertson, Rich Kobel, and Richard Kolovitz were Chicago

police officers at certain time     periods alleged in Plaintiff’s Third Amended

Complaint. (Exhibit 1, Plaintiff’s Third Amended Complaint, ¶¶ 9(e) through (p)).

      Response:     Plaintiff admits. Stating further, Plaintiff has voluntarily
                    dismissed Robertson, Kobel and Kolovitz. (See Docket Entry
                    #454).

      5.      Venue is proper in the Northern District of Illinois because the City is

located within this judicial district and the events giving rise to this action occurred

within this judicial district. (Exhibit 1, Plaintiff’s Third Amended Complaint, ¶5).

      Response:     Plaintiff admits.

      6.      Plaintiff has alleged claims against the City defendants under 42 U.S.C. §

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1983 in Count I (violation of due process), Count II (failure to intervene), and Count

III (conspiracy to violate constitutional rights), and Illinois state law claims in Count

IV (malicious prosecution), Count V (intentional infliction of emotional distress),

Count VI (conspiracy), Count VII         (respondeat superior), and Count VIII (an

indemnification claim pursuant to 745 ILCS 10/9- 102). (Exhibit 1, Plaintiff’s Third

Amended Complaint).

      Response:     Plaintiff admits.

      7.      This Court has jurisdiction to hear this case under 28 U.S.C. §§ 1331

and 1367. (Exhibit 1, Plaintiff’s Third Amended Complaint, ¶5).

      Response:     Plaintiff admits.

II.    SMITH AND HICKMAN MURDERS
      8.      On Saturday morning of April 28, 1984, at around 10:15 a.m., Jerome

“Fuddy” Smith and Talman Hickman were shot and killed outside a public housing

complex at 706 East 39th Street, in Chicago. (Exhibit 1, Plaintiff’s Third Amended

Complaint, ¶10).

      Response:     Plaintiff admits.

      9.      Fuddy was the leader of a street gang known as the Goon Squad, a

faction of the Black Gangster Disciples. At the time of the shooting, there was an

ongoing gang rivalry between the El Rukns and the Goon Squad. (Exhibit 1,

Plaintiff’s Third Amended Complaint, ¶11).

      Response:     Plaintiff admits that “Fuddy” was a leader of a street gang known
                    as the Goon Squad, which purportedly had a rivalry with the El


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                    Rukns.

                    Plaintiff denies that the Goon Squad was a faction of the Black
                    Gangster Disciples as this proposition is unsupported and untrue.

III.   INITIAL  1984         CHICAGO           POLICE      DEPARTMENT           (“CPD”)
       INVESTIGATION

       10.    On April 28, 1984, Area One Detectives Steve Hood and Robert Evans

responded to a radio call and were the first detectives to arrive on the scene of the

Smith/Hickman murders. (Exhibit 4, Hood Deposition, pp. 30-31; Exhibit 5, Evans

Deposition, pp. 46, 95).

       Response:    Plaintiff admits.

       11.    Gang Specialist Thomas Richardson also responded to the radio call and

went to the scene. Richardson did not conduct or participate in any interviews of

potential witnesses at the scene. (Exhibit 6, Richardson Deposition, pp. 18, 20).

       Response:    Plaintiff admits the first sentence. Plaintiff admits that
                    Richardson testified that he did not conduct or participate in any
                    interviews at the scene of the murder.

       12.    There were a lot of people at the scene, and Detectives Hood and Evans

tried to talk to as many of them as possible. Evans and Hood talked to possibly as

many as a hundred people. Many of the people at the scene wouldn’t talk to the

detectives, give their names, or provide any information. Others provided information

and were interviewed. (Exhibit 4, Hood Deposition, pp. 37-38).

       Response:    Plaintiff admits that there were many people at the scene and that
                    Evans and Hood talked to possibly as many as “a hundred”
                    people.

                    To clarify, the deposition statement from Hood states “In many


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                    cases they wouldn’t talk to us or they wouldn’t give us their
                    names or give us any information.” (Def. Ex. 4, p. 38)

                    Plaintiff admits that “others” provided information and were
                    interviewed, however, the cited pages do not state that fact.

      13.     Evans testified in Plaintiff’s criminal proceedings before Judge Maloney

on June 24, 1986. (Exhibit 18, Evans 1986 Trial Testimony in People v. Fields, p. 632).

      Response:     Plaintiff admits.

      14.     Evans testified he and his partner Detective Hood canvassed the crime

scene and “talked to many people.” He further stated, “I talked to approximately a

hundred people.” The majority of those people did not give him their names. (Exhibit

18, Evans 1986 Trial Testimony in People v. Fields, pp. 634-36).

      Response:     Plaintiff admits.

      15.     Evans did not testify on June 24, 1986, that he “interviewed

approximately one hundred people” or that he prepared notes or memoranda

reflecting “interviews” of one hundred people.         (Exhibit 18, Evans 1986 Trial

Testimony in People v. Fields, pp. 632-48).

      Response:     Plaintiff admits only that the referenced pages do not discuss the
                    taking of notes or memorandum during the interviews.

                    Stating further, although defendants now attempt to distinguish
                    between “interviewing” witnesses and “talking to” witnesses,
                    those terms were used interchangeably in Evans’s 1986 testimony,
                    as evidenced in the following exchange:

                    Q:     Do you recall about what time you went to the scene?
                    A:     Shortly after it occurred.
                    Q:     Did you canvass the area and talk to witnesses?
                    A:     Yes.



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                    Q:     As a matter of fact, you talked to at least ten potential
                           witnesses during the course of your investigation, isn't that
                           correct?
                    A:     I talked to many more people than that.
                    Q:     Did you resume your investigation beyond the 28th of
                           April, 1984, and interview other witnesses?
                    A:     Yes.
                    Q:     What day was that?
                    A:     The investigation was ongoing. I talked to many people
                           several days following the initial incident.

                    (Def. Ex. 18, p. 634)

        16.   Area One Detectives Joseph Bogdalek and James Minogue were

assigned to the murder scene for follow-up investigation after reporting for their shift

on the afternoon of April 28, 1984, and started by canvassing the area. (Exhibit 7,

Bogdalek Deposition, pp. 45-46; 53).

        Response:   Plaintiff admits.

        17.   A Supplementary Report prepared by Bogdalek and Minogue, dated

April 30, 1984, memorializes their interview of Sandra Langston on April 28, 1984,

in which Sandra provided a description of two individuals she saw following murder

victim Fuddy Smith shortly before he was shot. (Exhibit 19, 4/30/84 Supplementary

Report, p. 2; Exhibit 20, Plaintiff’s First Amended Petition for Post-Conviction Relief,

¶20).

        Response:   Plaintiff admits that the 4/30/84 report prepared by Bogdalek and
                    Minogue memorializes an interview of Sandra Langston in which
                    she describes the two individuals.

                    Plaintiff further states that in the 4/30/84 report Sandra Langston’s
                    description is that one of the two men was “in early 20s, light
                    complexion and wearing a red ski mask and white jacket,” and
                    the other was “in early 20s, light complexion and wearing a blue


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                      jacket.” (Def. Ex. 19).

          18.   Bogdalek    and    Minogue      worked   on   the   investigation   of   the

Smith/Hickman murders for three or four days, checking out anonymous tips and

talking to possible witnesses. (Exhibit 7, Bogdalek Deposition, pp. 44; 46; 53; Exhibit

8, Minogue Deposition, pp. 93-95). Their involvement in the investigation ended at

that time because all their leads were exhausted. (Exhibit 7, Bogdalek Deposition, pp.

44-45).

          Response:   Plaintiff admits that detectives Bogdalek and Minogue both
                      testified that they did not recall working on the matter after three,
                      four or five days.

                      Plaintiff denies that Bogdalek and Minogue’s involvement in the
                      Smith/Hickman investigation ended because “all their leads were
                      exhausted.” (PSF ¶¶ 208-230).

          19.   Although the investigation remained open, Evans and Hood stopped

actively working on it sometime in May 1984, because they weren’t getting anywhere.

(Exhibit 4, Hood Deposition, p. 39). Evans did not recall doing any further work on

the case after he returned from an early June 1984 vacation. (Exhibit 5, Evans

Deposition, p. 178). Hood vaguely recalled performing some investigation into an

anonymous tip dated June 8, 1984. (Exhibit 4, Hood Deposition, pp. 141-42).

          Response:   Plaintiff admits that Hood testified that he wasn’t getting
                      anywhere in the investigation so he gave up.

                      In addition, Hood testified that he stopped working on the
                      investigation because he had other investigations to work on.
                      (Def. Ex. 4 at 39).

                      Plaintiff admits that Evans testified that he does not recall
                      working on the case after he returned from vacation in June 1984.


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                    Plaintiff denies that Hood vaguely recalled performing some
                    investigation into an anonymous tip dated June 8, 1984. Hood
                    testified that he vaguely recalls the document containing the
                    anonymous tip (Def. Ex. 4, p. 141), but that he does not recall
                    investigating the anonymous tip. (Def. Ex. 4, p. 142). Hood further
                    stated that he would have made a follow-up report in response to
                    the We T.I.P. submission, that he would not have ignored the
                    request and that the report would have been made in the form of a
                    to-from memo to a supervisor. (PSF ¶230).

      20.     In 1984-85, it was the policy of the CPD that detectives were to turn in

their notes along with all reports. (Exhibit 5, Evans Deposition, pp. 44-46; Exhibit 8,

Minogue Deposition, p. 92; Exhibit 17, CPD Special Order 83-1).

      Response:     Plaintiff admits that the written policy in 1984-85 was for
                    defendants to turn in their notes along with all reports and that
                    Defendant Minogue stated that he followed that policy.

                    Stating further, the pages cited from Evans’s deposition do not
                    support this proposition. In the cited pages, Evans testified that it
                    was the policy of the police department that investigative notes
                    were not to be thrown away; there is no mention of a requirement
                    to “turn in” notes. Nevertheless, Plaintiff admits that Evans
                    testified that he believed there was a written procedure in 1984
                    that required detectives to turn in notes, and that it was his
                    practice to do so. (Def. Ex. 5, p. 18).

      21.     Detectives Hood, Evans, Bogdalek, and Minogue would generate notes

and reports as part of their investigations. They turned in their notes and reports

pertaining to the Smith/Hickman case by placing them in an in-basket on the

sergeant’s desk. (Exhibit 4, Hood Deposition, pp. 13-15, 121; Exhibit 5, Evans

Deposition, pp. 17-18, 96; Exhibit 7, Bogdalek Deposition, pp. 19-20, 40, 80; Exhibit 8,

Minogue Deposition, pp. 26-27, 175, 182-83).

      Response:     Plaintiff admits only that the detectives testified at their


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                  depositions that they would sometimes generate notes and
                  reports as part of their investigations.

                  Plaintiff denies that the detectives “turned in their notes and
                  reports pertaining to the Smith/Hickman case by placing them in
                  an in-basket on the sergeant’s desk” as the none of the cited
                  testimony supports the proposition that the detectives specifically
                  turned in their notes on the Smith/Hickman case. Rather, as set
                  forth in the following paragraphs, each detective testified as to
                  their practice generally.

                  Hood testified generally that notes were usually put “on a memo
                  or in a case report” and then turned in to a basket on the
                  sergeant’s desk. (Def. Ex. 4, pp. 14-15, 121).

                  Evans testified that it was his practice to turn in notes to the in-
                  basket for the sergeant. (Def. Ex. 5, pp. 18, 96).

                  Bogdalek testified that if they made out a report with notes, they
                  would put “them” in the basket, and also that GPRs would be put
                  in the basket. (Def. Ex. 7, pp. 19-20). Bogdalek testified that he
                  turned over all of his notes (Def. Ex. 7, p. 40), and further that the
                  notes he took during interviews were submitted with his “Supp”
                  report. (Def. Ex. 7, p. 80).

                  Minogue testified that he did not always take notes of interviews,
                  but that “to the best of [his] knowledge” every note that he wrote
                  went in to the sergeant’s in-basket. Minogue also testified that the
                  process for submitting reports, memos, or progress reports was to
                  submit them to the in-basket for approval by the supervisor. (Def.
                  Ex. 8, pp. 26-27). Pages 175, 182, and 183 of Minogue’s deposition
                  do not support this proposition.

                  Plaintiff further states that numerous notes remain missing and
                  therefore Plaintiff denies that all of the notes were turned in. (PSF
                  ¶¶ 208-230).

      22.    Area One Detectives O’Callaghan, Kobel, and Robertson, and Gang

Crimes Specialists Casto, Richardson, Brannigan, and Kolovitz, had no involvement

in the 1984 CPD investigation of the Smith/Hickman homicides. (Exhibit 9,

O’Callaghan Deposition, pp. 26-29; 59; Exhibit 10, Kobel Deposition, pp. 94; 109;


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Exhibit 11, Robertson Deposition, p. 254; Exhibit 12, Casto Deposition, p. 26; Exhibit

6, Richardson Deposition, pp. 20, 22; Exhibit 13, Brannigan Deposition, pp. 252-56;

Exhibit 14, Kolovitz Deposition, p. 40; Exhibit 21, O’Callaghan 6/18/86 Trial

Testimony in People v. Fields, at 261-62).

      Response:     Plaintiff denies as to O’Callaghan, as the cited pages do not
                    support or relate to this proposition.

                    Plaintiff denies as to Brannigan, who could not recall if he did
                    any work on the Hickman/Smith investigation (Def. Ex. 13, p.
                    252).

                    Plaintiff denies as to Casto, who could not recall if he did any
                    work on the Hickman/Smith investigation prior to 1985. (Def. Ex.
                    12, p. 26).

                    Plaintiff denies as to Richardson, who admitted that he was
                    involved as a “gang specialist.” (Def. Ex. 6, pp. 23-25).

                    Plaintiff has voluntarily dismissed Robertson, Kobel and
                    Kolovitz. (See Docket Entry #454).

      23.     Richardson did not conduct or sit in on any interviews of witnesses or

suspects in the Smith/Hickman homicide investigation in 1984. (Exhibit 6,

Richardson Deposition, pp. 25-28).

      Response:     Plaintiff denies. Richardson could not recall one way, or the
                    other. (Def. Ex. 6, pp. 25-28).

      24.     Fields’ name did not come up and he was not a suspect during the 1984

Smith/Hickman murder investigation conducted by Hood, Evans, Bogdalek, and

Minogue. (Exhibit 4, Hood Deposition, pp. 108, 115; Exhibit 5, Evans Deposition, p.

178; Exhibit 7, Bogdalek Deposition, p. 94; Exhibit 8, Minogue Deposition, p. 56).

      Response:     Plaintiff admits.



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IV.    RAID OF EL RUKN SAFE HOUSE IN EAST CLEVELAND

      25.     Based on information obtained from a federal wiretap, FBI agents

raided an El Rukn safe house in East Cleveland, Ohio, on or around May 10, 1985.

(Exhibit 13, Brannigan Deposition, pp. 131-32; 139-40; Exhibit 1, Plaintiff’s Third

Amended Complaint at ¶19;            Exhibit 22, ATF Report of Investigation (also

designated as Plaintiff’s Exhibit #106)).

      Response:       Plaintiff admits.

      26.     AUSA Patrick Deady sent CPD Gang Crimes Specialist Dan Brannigan,

who was detailed at the time to the Bureau of Alcohol, Tobacco, and Firearms

(“ATF”), to participate in the raid. (Exhibit 13, Brannigan Deposition, pp. 131-32; 135).

      Response:       Plaintiff denies that Deady “sent” Defendant Brannigan to
                      participate in the raid, as the cited pages make no such claim.

                      Plaintiff admits that Brannigan was detailed to the ATF at the
                      time of the raid and that Brannigan was present at the raid.

      27.     During the raid, five members of the El Rukn street gang were found

staying at the safe house and taken into custody, including Anthony Sumner.

(Exhibit 13, Brannigan Deposition, pp. 138, 143, 147-48, 150; Exhibit 23, Wharrie

Deposition, p. 50).

      Response:       Plaintiff admits.

      28.     Brannigan individually interviewed Sumner and the other El Rukns at a

Cleveland police station, trying to recruit them to become cooperating witnesses.

(Exhibit 13, Brannigan Deposition, pp. 145, 153-54).

      Response:       Plaintiff admits that Brannigan testified that he interviewed


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                    Sumner, and that he tried to recruit the arrestees to become
                    cooperating witnesses.

      29.     Sumner told Brannigan he would cooperate with the authorities in the

El Rukn investigation. (Id. at 154, 160-61).

      Response:     Plaintiff objects to this Statement of Fact on the ground that it is
                    inadmissible hearsay. Moreover, Plaintiff denies that Sumner
                    “ told” Brannigan he would cooperate with the authorities in
                    the El Rukn investigation. Brannigan admitted that Sumner did
                    not tell him he was going to cooperate at that time. (Def. Ex. 13, p.
                    154). An ATF report from May of 1985 indicates that it was only
                    after Brannigan and ASA Larry Wharrie interrogated Sumner—in
                    what ATF Agents Thomas O’Brien and Lewis Wolfe described as
                    an “extensive interview”—that they secured assurances from
                    Sumner that he would cooperate with law enforcement. (PSF ¶41).

      30.     Brannigan never beat Sumner nor threatened him with criminal charges

in order to obtain his agreement to cooperate. (Id. at 158-59).

      Response:     Plaintiff admits that Brannigan stated at his deposition that he
                    never beat Sumner nor threatened him with criminal charges
                    (Def. Ex. 24, pp. 452-53, 457-463), but Sumner testified in an
                    affidavit, and in a recorded interview, otherwise. (See response to
                    SOF #32, below; Pl. Ex. 101; Pl. Ex. 102).

      31.     At Fields’ 1986 criminal trial, Sumner explained that in August and

September of 1985, he was told by Sammie Knox, a General in the El Rukns, to meet

with El Rukn attorneys Chuck Murphy and William Swano and “make up

something” against the police and say they beat and threatened him. (Exhibit 24,

Sumner 1986 Trial Testimony in People v. Fields, pp. 452-53, 482-85).

      Response:     Plaintiff denies that the record supports that the purported
                    conversation with Sammie Knox took place in August or
                    September 1985.

                    Plaintiff admits that Sumner testified at Fields’s 1986 trial that


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                    Sammie Knox told him to meet with the lawyers and “make up
                    something saying that [the police] beat me.”

       32.     Sumner provided statements to Murphy and Swano indicating that

police officers threatened, choked, and struck him unless he agreed to cooperate.

The things Sumner told attorneys Murphy and Swano were not the truth. (Id. at 452-

53; 456-63; 485).

       Response:    Plaintiff admits that on August 27, 1985, Sumner provided a
                    signed statement to attorney Murphy. The letter was discovered
                    by a Deputy U.S. Marshal in one of the drainpipes at the El Rukn
                    fort. Stating further, Sumner stated that during his initial
                    interrogation in East Cleveland, Ohio, he told Chicago Police that
                    he had “no knowledge” of the murders about which he was
                    being questioned, and that the officers threatened him with
                    physical harm, choked him, struck him, and threatened that “they
                    had a seat for [him] in the getaway car,” which Sumner took to
                    mean that if he did not cooperate, the police would frame him for
                    a murder involving James Walker that he had “nothing to do
                    with.” Sumner further stated that, “all the testimony [he] gave
                    before the state or federal grand juries was untrue, as [he] simply
                    kept providing them with information that in turn would keep
                    [him] out of trouble.”(Pl. Ex. 101).

                    Plaintiff admits that on September 9, 1985 Sumner gave a
                    recorded statement to attorney Swano, in the presence of attorney
                    Earl Washington, attorney Fred Solomon, Investigator Robert
                    Beseth, and Law Clerk Amy Patton. Stating further, in that
                    statement, Sumner described how Brannigan put Sumner’s shirt
                    over Sumner’s head, choked him, hit his head against a locker
                    and hit him several times. After the beating, Sumner agreed to
                    give the police false information about a murder involving James
                    Walker. Sumner admitted that he testified in front of two grand
                    juries—one state and one federal—and that he lied to both.
                    Sumner admitted that he told police that Fields, Hawkins, Carter,
                    and Andrews were involved in the Smith/Hickman murders, and
                    that information was not true. (Pl. Ex. 102).

                    Plaintiff states further that AUSA Hogan testified that he knew
                    of at least three occasions in which Sumner lied in judicial
                    proceedings, including Fields’s first trial, despite the fact that


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                    Sumner had been told “repeatedly by Federal and State
                    prosecutors that he had to tell the complete truth.” (Def. Ex. 61,
                    pp. 99-101; PSF ¶107).

                    Because of Sumner’s contradictory statements, and the
                    corroboration by Hogan that Sumner in fact testified falsely in
                    grand jury and trial testimony, whether the things that Sumner
                    told Murphy and Swano are true is a question of material fact.

      33.     After Sumner agreed to cooperate, Brannigan and Sumner returned

from Cleveland and went to the Cook County State’s Attorney’s Office (“SAO”)

in Chicago. (Exhibit 13, Brannigan Deposition, pp. 195-96; 199-201).

      Response:     Plaintiff admits.

      34.     Sumner was then debriefed at the Cook County State’s Attorney’s

Offices over the next several days in mid-May 1985 by members of the CPD, the

SAO, and AUSA Deady. AUSA Deady also conducted a separate interview of

Sumner at the United States Attorney’s Office in mid-May 1985. (Exhibit 13,

Brannigan Deposition, pp. 194, 203-04; Exhibit 15, Cmdr. Murphy Deposition, pp.

54-56; Exhibit 16, Deady Deposition, pp. 9, 13-17, 19-21).

      Response:     Plaintiff objects to the word “debriefed” as not accurate as the
                    information provided by Sumner was false. Plaintiff admits that
                    Sumner was interrogated by the above in mid-May 1985.

      35.     CPD members Hood, Evans, Bogdalek, Minogue, O’Callaghan, Kobel,

Robertson, Casto, and Richardson were not present during the mid-May 1985

debriefings of Anthony Sumner. (Exhibit 4, Hood Deposition, p. 125; Exhibit 5,

Evans Deposition, p. 178; Exhibit 7, Bogdalek Deposition, p. 46; Exhibit 8,

Minogue Deposition, p. 111; Exhibit 9, O’Callaghan Deposition, p. 26; Exhibit 10,



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Kobel Deposition, p. 99; Exhibit 11, Robertson Deposition, p. 188; Exhibit 12, Casto

Deposition, p. 49; Exhibit 6, Richardson Deposition, pp. 63, 69).

       Response:   Plaintiff objects to the word “debriefings” as not an accurate
                   description of the interrogations of Mr. Sumner.

                   Plaintiff denies as to Evans, Richardson, Casto and O’Callaghan
                   for the reasons stated below.

                   There is nothing in the citation to support the fact that Evans was
                   not present during the interrogations of Sumner. Evans testified
                   that he does not “recall working on the file” after he came back
                   from vacation in June, 1984. (Def. Ex. 5, p. 178).

                   Richardson admitted “talking” to Sumner but claims that his
                   discussion with Sumner was not an “interview.” (Def. Ex. 6, p.
                   69).

                   Casto was unsure as to whether he was present or not. (Def. Ex.
                   12, p. 49).

                   O’Callaghan admitted to talking with Sumner and guarding him
                   at his hotel but claimed he did not interrogate Anthony Sumner
                   or interview him about anything “in-depth,” but suggested that
                   he may be wrong, if Plaintiff had any document to show he had
                   other contact with Sumner. (Pl. Ex. 103, p. 48)

                   Plaintiff admits that Hood, Bogdalek, and Minogue claim not to
                   have been involved.

                   Plaintiff has voluntarily dismissed Robertson and Kobel. (See
                   Docket Entry #454).

       36.    In the mid-May 1985 debriefings, Sumner provided information about a

number of murders committed by himself and other members of the El Rukns.

(Exhibit 15, Cmdr. Murphy Deposition, pp. 53; 73-74; Exhibit 16, Deady Deposition,

pp. 16-18).

       Response:   Plaintiff denies. The citations Defendants provide for this
                   proposition indicate that Sumner talked about various murders,


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                     but do not support Sumner providing information about murders
                     committed by “other members of the El Rukns” in the mid-May
                     1985 interviews. (Def. Ex. 15, pp. 53; 73-74) (Def. Ex. 16, pp. 16-18).

                     Plaintiff objects as to the deposition testimony of Deady on the
                     ground that it is inadmissible hearsay. Deady testified that he was
                     informed by unknown others of information provided by Sumner
                     and that the only first-hand knowledge he learned from Sumner
                     related to a murder Sumner was involved in in Detroit. (Def. Ex.
                     16, 16-18).

       37.     Then-Sergeant Murphy conducted a number of interviews of Sumner in

the Gang Crimes area of the State’s Attorney’s Office in mid-May 1985. Murphy was

assigned to the State’s Attorney’s Office at the time. (Exhibit 15, Cmdr. Murphy

Deposition, pp. 56; 151).

       Response:     Plaintiff denies. There is no indication in citation that Defendant
                     Murphy “conducted” the interviews, only that he was present at
                     some of the interviews. (Def. Ex. 15, pp.56; 151).

                     Plaintiff admits that defendant Murphy was assigned to the
                     State’s Attorney’s office at the time.

       38.    During the interviews, Murphy made it clear he wasn’t making any

promises to Sumner to get him to cooperate. (Id. at 65).

       Response:     Admitted that Murphy claims that he made it clear that he wasn’t
                     making any promises to Sumner, however, this is a question of
                     material fact since Sumner was never charged with any of the
                     murders he admitted to.

       39.     Murphy took notes of his interviews of Sumner. Murphy provided

copies of the notes to the SAO by giving them to an SAO secretary in Gang Crimes.

He also provided copies to the United States Attorney’s Office. (Id. at 53; 88-89; 151-52).

        Response: Although Murphy testified to these facts, Plaintiff denies that it is
                  true. Stating further, a general progress report signed by



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                       defendant Murphy and describing Sumner’s account of the
                       Hickman-Smith murders implicating Fields, shows the date of
                       May 14, 1985 at the head of the page but it shows the date of May
                       14, 1986 as the date he signed it. This report appears in neither the
                       eight pages of notes tendered to Mr. Fields at trial, or in the CPD’s
                       permanent retention file for the Hickman-Smith shooting, nor the
                       recently tendered street file. Moreover, in a body of handwritten
                       notes which defendant Murphy has acknowledged to be in his
                       own, taken during interviews with Earl Hawkins in 1988, Murphy
                       appears to review a series of crimes which were pinned on the El
                       Rukns; on page 19 of these notes, Murphy makes an entry for
                       “Talman Hickman + Jerome Smith” and below this makes the
                       notation “Refer to the notes I took in April 1986 in Special Notes.”
                       Murphy has testified that the April 1986 “Special Notes”
                       referenced above, refer to a general progress report, which is
                       double-dated May 14, 1985 and May 14, 1986. (PASF ¶¶ 256-58;
                       261).

       40.      The original notes from Sumner that pertained to homicides would be

given to homicide detectives from the Area where the homicide occurred. Murphy

instructed the homicide detectives to place the original notes in the investigative file.

(Id. at 85-88; 164).

       Response:       See response 39.

       41.      Murphy would ask Sumner what cases he knew about and what he had

knowledge of, and took notes about each case Sumner talked about. Sumner talked

to Murphy about the Smith/Hickman murders on May 14, 1985. (Id. at 72-73; 80).

       Response:       Plaintiff denies. A General Progress Report signed by defendant
                       Murphy and describing Sumner’s account of the Hickman-Smith
                       murders implicating Fields shows the date of May 14, 1985 at the
                       head of the page but it shows the date of May 14, 1986 as the date
                       he signed it. (PASF ¶261).

       42.      With respect to the Smith/Hickman murders, Sumner told authorities

Earl Hawkins was in charge of the hit team, and that on orders from Jeff Fort, Fuddy



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Smith was to be killed. (Id. at 66-67; Exhibit 24, Sumner 1986 Trial Testimony in

People v. Fields, pp. 371- 72, 377).

       Response:     Plaintiff admits only that Sumner so testified. Stating further,
                     there are several contradictory versions of this story. On
                     September 9, 1985, Anthony Sumner himself gave a statement to
                     defense lawyers, which repudiated any notion that Mr. Fields
                     had been involved in either the Hickman-Smith or the Vaughn
                     White case; Sumner stated that defendant Brannigan had beaten
                     him in the period following his arrest in Ohio. (Pl. Ex. 102).


       43.     Sumner also told authorities that Hawkins recruited Fields and El Rukn

George Carter to be the shooters of Smith, and El Rukn Hank Andrews to be the

getaway driver. Hawkins himself planned to act as the spotter. (Exhibit 24, Sumner

1986 Trial Testimony in People v. Fields, pp. 371-77, 380-81; Exhibit 15, Cmdr.

Murphy Deposition, pp. 66-67).

       Response:     Plaintiff admits only that Sumner so stated and testified.

       44.     Sumner told authorities in the mid-May 1985 debriefings he later talked

to Fields about the shooting of Fuddy Smith, and when Sumner said he heard Fields

had something to do with it, Fields responded, “It was good exercise.” (Exhibit 24,

Sumner 1986 Trial Testimony in People v. Fields, pp. 379-80; 438; Exhibit 15, Cmdr.

Murphy Deposition, pp. 66-67).

       Response:     Plaintiff objects to this Statement of Fact on the ground that it is
                     inadmissible hearsay.

                     Plaintiff objects to the characterization “debriefings” as not an
                     accurate description of the interrogation Sumner was subjected to.
                     Stating further, Sumner did not know who Smith and Hickman
                     were until after his arrest. (Pl. Ex. 102).




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       45.    Sumner also told authorities in the mid-May 1985 debriefings about the

murders of Dee Eggars Vaughn and Joseph White. (Exhibit 16, Deady Deposition, p.

81).

       Response:    Plaintiff objects to this Statement of Fact on the ground that it is
                    inadmissible hearsay.

                    Plaintiff objects to the characterization “debriefings” as not an
                    accurate description of the interrogation Sumner was subjected to.

                    Plaintiff admits that in mid-May 1985 Sumner told authorities
                    about the murders of Ms. Vaughn and Mr. White. Stating further,
                    in the mid-May 1985 interrogations, Sumner lied to authorities
                    and told authorities that Nathson Fields was involved in the
                    Vaughn/White murders when it was actually Sumner and
                    Hawkins who murdered Ms. Vaughn and Mr. White in the
                    presence of Ms. Vaughn’s children. (PSF ¶ 105).

       46.    Sumner reported in the mid-May 1985 debriefings that he, Earl

Hawkins, and Nathson        Fields   participated   in   the   Vaughn/White     double

homicide.    (Exhibit 15, Cmdr. Murphy Deposition, pp. 117-19).

       Response:    Plaintiff objects to this Statement of Fact on the ground that it is
                    inadmissible hearsay. Plaintiff further objects to the
                    characterization “debriefings” as not an accurate description of
                    the interrogation Sumner was subjected to. In addition, in this
                    citation, Murphy is testifying about the contents of an August 31,
                    1985 Supplementary Report, which purports to recount Sumner’s
                    interviews with law enforcement.

                    Plaintiff admits that Sumner lied and stated that Plaintiff
                    participated in the Vaughn/White murders.

V.     1985 CPD INVESTIGATION OF SMITH/HICKMAN HOMICIDES

       47.    Around the time in 1985 when Anthony Sumner started cooperating

with the authorities, Detective O’Callaghan was assigned to investigate a number of



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open homicides. O’Callaghan’s investigations included a number of homicides that

according to Sumner, were committed by members of the El Rukns, including the

Smith/Hickman homicides. (Exhibit 9, O’Callaghan Deposition, pp. 26-29; 59; Exhibit

15, Cmdr. Murphy Deposition, p. 51).

       Response:    Plaintiff admits that O’Callaghan and Murphy so testified.

       48.    As part of his investigation into the Smith/Hickman murders,

O’Callaghan interviewed Gerald Morris, Randy Langston, Eric Langston, and

others. (Exhibit 21, O’Callaghan 6/18/86 Trial Testimony in People v. Fields, at 272-

75).

       Response:    Plaintiff admits that O’Callaghan stated that he interviewed
                    Gerald Morris, Randy Langston, and Eric Langston in 1985, more
                    than a year after the murders of Smith and Hickman.

                    Plaintiff denies as to “others” because the citation does not
                    support this proposition.

       49.    O’Callaghan performed a re-canvass of the scene in 1985. (Exhibit 9,

O’Callaghan Deposition, pp. 112-13).

       Response:    Plaintiff denies that O’Callaghan “performed a re-canvass of the
                    scene in 1985” as not supported by the citation. O’Callaghan
                    stated that he “knocked on” “every door on every floor”, and did
                    some interviews, but the citation does not indicate that this was in
                    1985. (Def. Ex. 9, pp. 112-13).

       50.    O’Callaghan testified Gerald Morris was one of the individuals he

came across during the re-canvass, stating, “”We talked to hundreds of people during

that investigation, and   he was one of the subjects we ran into.” (Exhibit 21,

O’Callaghan 6/18/86 Trial Testimony in People v. Fields, at 275).



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      Response:     Plaintiff admits that Callaghan so stated, but Plaintiff denies the
                    accuracy of this testimony. Stating further, O’Callaghan has no
                    verifying proof of this proposition, as he testified that he did not
                    take notes when he talked to these hundreds of people, but
                    “wrote some reports” at some later time. (Def. Ex. 9, pp. 112-13).

      51.     On May 18, 1985, during the Smith/Hickman investigation, witnesses

viewed a line-up that included Earl Hawkins and Ray Fergerson. (Exhibit 15, Cmdr.

Murphy Deposition, p. 183).

      Response:     Plaintiff admits.

      52.     The witnesses identified Earl Hawkins as an offender in the

Smith/Hickman murders, but Detective Coffman mistakenly noted in a Crime

Laboratory form report that Ray Fergerson had been identified. (Id. at 183-84).

      Response:     Plaintiff denies. Stating further, a crime lab report purporting to
                    relate to a Hickman-Smith lineup, and signed by defendant
                    Murphy, indicates that one Ray Fergerson was identified by
                    persons viewing the lineup; later the detective division version of
                    this document shows Mr. Fergerson’s name was crossed off; a
                    supplementary report drafted after-the-fact shows Hawkins name
                    being inserted as the one identified. (PASF ¶ 254).

                    Plaintiff denies that Detective Coffman “mistakenly” noted
                    Fergerson’s identification as not true and not supported by the
                    record.

      53.     When Murphy saw that the report erroneously indicated Fergerson

had been identified, he scratched out the word “identified” that had been placed next

to Fergerson’s name by Detective Coffman. (Id.)

      Response:     Plaintiff admits that Murphy so testified. Stating further, two
                    days after the line-up Murphy scratched out the identification of
                    Fergerson on the Detective Division copy of the report, but not on
                    the Crime Lab copy. (PASF ¶254). Murphy admitted that it was
                    “absolutely” impossible for Fergerson to have been involved in



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                    the Smith/Hickman murder. (Def. Ex. 15, p. 185; PASF ¶255).

      54.     The Crime Laboratory Report form that Coffman filled out consists of

a set of duplicate pages, with the Detective Division copy on top. The Detective

Division copy reflects    Murphy’s crossing out of the word “identified” next to

Fergerson’s name. (Id. at 187-88).

      Response:     Plaintiff admits that the document was duplicate pages and that
                    Murphy only crossed off Fergerson’s name on the Detective
                    Division copy.

      55.     The supplementary police report pertaining to the May 18, 1985 line-up

reflects that Hawkins was identified by the witnesses. (Id. at 185).

      Response:     Plaintiff admits that three days later the Detective Division copy
                    of the report was changed to indicate Hawkins and that the
                    subsequent Supplementary Report shows Hawkins as the person
                    identified.

      56.     Nathson Fields was arrested on or around June 13, 1985. (Exhibit 2,

Fields Deposition, p. 204).

      Response:     Plaintiff admits.

      57.     Following Fields’ arrest, while he was in police custody, he was

interviewed by Detective O’Callaghan. Detective Robertson was present during that

interview. In the interview, Fields denied involvement in the Smith/Hickman and

Vaughn/White murders. (Exhibit 9, O’Callaghan Deposition, pp. 127-28; 164; Exhibit

11, Robertson Deposition, pp. 198-99; 257-58).

      Response:     Plaintiff admits that he was interrogated by Detective
                    O’Callaghan following his arrest, that Robertson testified that he
                    was present during that interview, and that Plaintiff denied
                    involvement in the Smith/Hickman and Vaughn/White murders.


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                   Stating further, Detective Richardson came in to the interrogation
                   room and hit Fields with a baton. (Pl. Ex. 147, pp. 214-16).
                   Moreover, Richardson did not deny that he was present, he
                   testified that the first time he saw Plaintiff was at Area 1, after his
                   arrest, but claims that he can not recall anything about that
                   encounter. (Pl. Ex. 106).

      58.     Randy Langston, Eric Langston, and Gerald Morris each separately

viewed a line-up at Area One on June 14, 1985. All three witnesses identified Nathson

Fields as one of the persons involved in the Smith/Hickman murders. (Exhibit 9,

O’Callaghan Deposition, pp. 128-31; Exhibit 6, Richardson Deposition, pp. 115-23;

Exhibit 15, Cmdr. Murphy Deposition, p. 208).

      Response:    Plaintiff admits that the above cited Defendants testified that the
                   three witnesses identified Plaintiff Fields. Stating further, this
                   Statement of Fact is not credible for numerous reasons, including,
                   but not limited to, the fact that the line-up was manipulated by
                   the police and prosecution to fit the story that defendants
                   concocted, i.e., that Nathson Fields was involved in the murders
                   of Smith and Hickman. (PASF ¶251-268).

      59.     Following the line-up in which Fields was identified, Detective

O’Callaghan   lifted Fields’ sleeve to reveal an El Rukn tattoo, which was

photographed by an evidence technician. (Exhibit 9, O’Callaghan Deposition, pp.

191-92; Exhibit 6, Richardson Deposition, pp. 120-22).

      Response:    Plaintiff denies. Stating further, when Mr. Fields was brought in
                   for a lineup in the Hickman-Smith murders, he was the only
                   lineup participant in a short-sleeved shirt; while Fields was in the
                   lineup, defendant O’Callaghan raised Mr. Fields’ sleeve, exposing
                   his El Rukn tattoo on Mr, Fields’ upper arm. O’Callaghan testified
                   that the photo was taken was taken “to show Mr. Fields' loyalty
                   and affiliation with the Almighty El Rukns, a/k/a the Blackstone
                   Rangers, his gang membership,” so that in a future prosecution,
                   “just as if [there was] a photo of people holding guns across their
                   chest and a logo of the Vice Lords behind them, it would show, A,


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                     they're gangsters and shooters, and, B, they're gang members. So
                     in case Mr. Fields came to court later and said, "Oh, I never, ever
                     was a bad boy, I never was involved in gangs or anything," why
                     would you have a tattoo such as that?” (Def. Ex. 9, pp. 192-193).
                     But Richardson testified that photos of scars and tattoos are taken
                     as a matter of course, “for our information.”
                     (Def. Ex. 6, p. 121).

       60.     The only police officers Fields observed during the line-up procedure

and when the evidence technician took photographs were O’Callaghan and Richardson.

(Exhibit 2, Fields Deposition, p. 225).

       Response:     Plaintiff admits.

       61.     O’Callaghan never showed a photograph of Fields’ tattoo to any

witnesses. (Exhibit 9, O’Callaghan Deposition, pp. 192-95).

       Response:     Plaintiff admits that O’Callaghan so stated.

       62.     Detective O’Callaghan did not lift up Fields’ sleeve to reveal the tattoo

during the line-up procedure. (Exhibit 6, Richardson Deposition, p. 120).         Fields

cannot say any witness to the Smith/Hickman murders was looking at the line-up

when O’Callaghan lifted up the sleeve so the evidence technician could photograph the

tattoo. (Exhibit 2, Fields Deposition, p. 233).

       Response:     Plaintiff objects to Richardson testifying as to O’Callaghan’s
                     intent in lifting Plaintiff’s sleeve.

       63.     On July 22, 1985, then-Sergeant Murphy received a telephone call from

Gerald Morris advising him that Randy Langston had just gone to the scene of the

crime with two individuals, one of whom identified himself as a homicide detective

and another who identified himself as an Assistant State’s Attorney. After talking to



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Morris in person, Murphy then went to the scene where he saw Randy Langston

with El Rukn attorney William Swano, Swano’s investigator, and a woman. (Exhibit

25, Murphy 6/24/86 Trial Testimony in People v. Fields, at 682-86).

       Response:      Plaintiff objects to this Statement of Fact on the ground that it is
                      inadmissible hearsay.

       64.     Randy Langston told Murphy that Swano had identified himself as an

Assistant State’s Attorney and the other man as a detective from Area One

Homicide. (Id.; Exhibit 6, Richardson Deposition, pp. 133-37).

       Response:      Plaintiff objects to this Statement of Fact on the ground that it is
                      inadmissible hearsay.

       65.     After Murphy told Randy Langston that Swano was an attorney

representing the El Rukns, Randy said he did not want to talk to Swano. (Exhibit 25,

Murphy 6/24/86 Trial Testimony in People v. Fields, at 682-86).

       Response:      Plaintiff objects to this Statement of Fact on the ground that it is
                      inadmissible hearsay.

       66.     The police then detained Swano and the investigator for impersonating

a police officer, but the State’s Attorney’s Office declined to press charges.       (Id.;

Exhibit 6, Richardson Deposition, pp.137-38; see also People v. Fields (“Fields I”), 135

Ill. 2d 18, 36, 552 N.E.2d 791 (1990)).

       Response:      Plaintiff admits that Richardson so testified. Stating further, the
                      citation to “Fields I” shows that Murphy testified that he arrested
                      Swano, and arrested his investigator Robert Beseth for
                      impersonating a police officer. Murphy testified that grand jury
                      subpoenas had been issued for Mr. Swano, Mr. Beseth and the
                      woman who was with them. On cross-examination, Murphy
                      admitted that he was testifying from memory and that no police
                      report had been prepared regarding the incident. (People v. Fields


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                       (“Fields I”), 135 Ill. 2d 18, 36, 552 N.E.2d 791 (1990)).

       67.    Gang Specialist Kolovitz may have been consulted by homicide

detectives at some point about whether the Smith/Hickman murders might have been

El Rukn-related. Kolovitz did not investigate the Smith/Hickman murders. Kolovitz

did not participate in any            line-ups or witness interviews as part of the

Smith/Hickman investigation. (Exhibit 14, Kolovitz Deposition, pp. 40; 110-11; 128-

31).

       Response:       Plaintiff has voluntarily dismissed Kolovitz. (See Docket Entry
                       #454).

       68.    Detective Kobel had no recollection of any substantive involvement in

the Smith/Hickman homicide investigation. (Exhibit 10, Kobel Deposition, pp. 109-

10).

       Response:       Plaintiff has voluntarily dismissed Kobel. (See Docket Entry
                       #454).

       69.    Fields is unable to provide an alibi as to his whereabouts on the morning

of April 28, 1984, when Smith and Hickman were murdered. (Exhibit 2, Fields

Deposition, p. 150).

       Response:       Plaintiff denies. The page indicated for this citation was not
                       provided.

       VI.   VAUGHN/WHITE MURDERS

       70.    On or around March 28, 1985, Earl Hawkins and Anthony Sumner

murdered Joe White and Dee Eggers Vaughn in Chicago. (Exhibit 1, Plaintiff’s Third

Amended Complaint, ¶17).




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      Response: Plaintiff admits.

      71.     There were two eyewitnesses to the Vaughn/White murders, a 12-

year-old girl (“SV”), and an eight-year-old boy (“MV”). (Exhibit 11, Robertson

Deposition, pp. 21-23).

      Response:     Plaintiff admits that the two children of Ms. Vaughn witnessed
                    the murder of their mother and her boyfriend Mr. White.

                    Plaintiff states further that he has voluntarily dismissed
                    Robertson. (See Docket Entry #454).

      72.     The two child eyewitnesses viewed line-ups conducted by police on

March 29, 1985 and on April 25, 1985. In the April 1985 line-up, SV identified

Robert “Pumpkin” Jackson, and MV identified Jackson and a second individual,

Counsial “Squeaky” Glenn. (Id. at 55-60; 135-39).

      Response:     Plaintiff admits that police reports indicate that the children
                    viewed line-ups on March 29, 1985 and April 25, 1985. Stating
                    further, a report dated March 31, 1985 (two days after the Vaughn
                    and White murders) and signed by defendant O’Callaghan
                    reveals that Sheree Vaughn (age 12) and James Michael Vaughn
                    (age 8) witnessed two men murder Joe White and Dee Eggers
                    Vaughn through a partially open door – and that Sheree Vaughn
                    identified Anthony Sumner as a perpetrator from a photograph
                    array. (PASF ¶244).

      73.     The SAO approved arrest warrants for both Jackson and Glenn for the

charges of murder of Vaughn and White. The SAO decided to give final approval for

placement of charges against Jackson. (Exhibit 26, 4/27/85 Supplementary Report, at

CITY-NF-001158-59).

      Response:     Plaintiff admits that after several tries the SAO approved
                    warrants for Jackson and Glenn.




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       74.    Based on information provided by Anthony Sumner in 1985, the State

dropped the charges against Jackson and Glenn for the Vaughn/White homicides.

Sumner told authorities that he, Earl Hawkins, and Nathson Fields were present

and involved in the Vaughn/White murders. (Exhibit 27, 8/31/85 Supplementary

Report, at CITY-NF-001151).

       Response:    Plaintiff admits that the false charges against Jackson and Glenn
                    were dropped and that Anthony Sumner falsely implicated
                    Plaintiff in that double murder.

       75.   Nathson Fields and Earl Hawkins were subsequently charged with the

Vaughn/White murders. (Id.; Exhibit 11, Robertson Deposition, pp. 178-82; 185-86).

       Response:    Plaintiff admits. Plaintiff states further that he has voluntarily
                    dismissed Robertson. (See Docket Entry #454).

       76.    Detectives Evans, Bogdalek, and Minogue, and Gang Specialists

Brannigan and Casto, had no involvement in the investigation of the Vaughn/White

homicides. (Exhibit 5, Evans Deposition, p. 93; Exhibit 7, Bogdalek Deposition, p.

72; Exhibit 8, Minogue Deposition, p. 20; Exhibit 13, Brannigan Deposition, p. 229;

Exhibit 12, Casto Deposition, p. 80).

       Response:    Plaintiff admits.

VII.   1986 CRIMINAL TRIAL BEFORE JUDGE MALONEY

       77.    The State charged Nathson Fields, Earl Hawkins, and George Carter

with the Smith/Hickman murders. (Fields I, 135 Ill. 2d at 27).

       Response:    Plaintiff admits.

       78.    The fourth individual implicated in the Smith/Hickman murders, Hank


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Andrews, had not been apprehended and remained at large when the case went to trial.

Andrews and fellow El Rukn Derrick Kees had fled to Milwaukee, Portland, San

Diego, and Detroit to avoid capture by police. (Exhibit 28, Kees Deposition, pp. 238-

40).

       Response:       Plaintiff denies. The citation does not support the proposition
                       that Andrews “had not been apprehended and remained at large
                       when the case went to trial.”

                       Further, Plaintiff objects to this Statement of Fact on the ground
                       that it is inadmissible hearsay. Plaintiff objects to Kees’s 2013
                       testimony in its entirety because he received time off of his State
                       sentence in exchange for his testimony against Fields at Fields’s
                       Innocence Petition hearing, which is a civil proceeding. (PASF
                       ¶274).

       79.       The State elected to prosecute the Smith/Hickman case first. The State

used the Vaughn/White case in aggravation during the sentencing phase. (Fields I, 135

Ill. 2d at 38-39).

       Response:       Plaintiff admits.

       80.       William Swano was hired to represent Earl Hawkins. Jack Smeeton was

hired to represent Fields. (Exhibit 29, Hawkins Deposition, pp. 209-10; Exhibit 2,

Fields Deposition, p. 285).

       Response:       Planitff admits that Swano represented Hawkins, and that
                       Plaintiff’s family hired Jack Smeeton to represent him.

       81.       George Carter’s case was severed from those of Fields and Hawkins

shortly before trial. (Fields I, 135 Ill. 2d at 27).

       Response:       Plaintiff admits that George Carter’s case was severed. Stating
                       further, the state released Carter and never attempted to try him
                       again. (PASF ¶264).


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      82.     The cases initially were assigned to Judge James Bailey. Because

Fields was concerned with Judge Bailey’s reputation as a stern judge, he took a

substitution of judge from Judge Bailey. (Exhibit 2, Fields Deposition, p. 240).

      Response:     Plaintiff admits.

      83.     The case was reassigned to Judge Maloney. Fields was similarly

concerned that Judge Maloney had a reputation as very stern and prosecution-minded.

For that reason, Fields did not want a bench trial before Judge Maloney. (Id. at 240-42).

      Response:     Plaintiff admits. Stating further, see response to SOF #89 below.

      84.     At first, Swano was recommending a jury trial, but he then began

suggesting a bench trial because he thought he could work out a deal with Judge

Maloney. (Exhibit 29, Hawkins Deposition, pp. 234-35).

      Response:     Plaintiff admits that Hawkins so testified, but objects to this
                    Statement of Fact on the ground that it is inadmissible hearsay.
                    Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                    because he received time off of his State sentence in exchange for
                    his testimony against Fields at Fields’s Innocence Petition hearing,
                    which is a civil proceeding. (PASF ¶273).

      85.     Swano told the El Rukns it would take $20,000 to fix the case before

Judge Maloney. (Exhibit 30, Hawkins 8/21/13 Certificate of Innocence Testimony, at

pp. 169-71). The actual amount of the bribe to be paid to Judge Maloney was

$10,000. (United States v. Maloney, 71 F.3d 645, 651 (7th Cir. 1995); People v.

Hawkins, 181 Ill. 2d 41, 47, 690 N.E.2d 999 (1998)).

      Response:     Plaintiff admits that there was testimony that Swano agreed to pay
                    $10,000 to Maloney, but denies Swano telling “the El Rukns” it
                    would take $20,000 to fix the case as not supported by the citation.
                    Further, Plaintiff objects to this Statement of Fact on the ground


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                     that it is inadmissible hearsay.

                     Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                     because he received time off of his State sentence in exchange for
                     his testimony against Fields at Fields’s Innocence Petition hearing,
                     which is a civil proceeding. (PASF ¶273).

       86.     Alan Knox, an El Rukn General, was responsible for getting the money

together to pay the bribe. Knox first had to get approval for the bribe from El

Rukn leader Jeff Fort. (Exhibit 29, Hawkins Deposition, p. 205; Exhibit 30, Hawkins

8/21/13 Testimony, at p. 174).

       Response:     Plaintiff objects to this proposition as lacking foundation as to
                     what Alan Knox was responsible for. Plaintiff objects to the
                     proposition that Knox had to get approval from Fort as
                     inadmissible hearsay.

                     Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                     because he received time off of his State sentence in exchange for
                     his testimony against Fields at Fields’s Innocence Petition
                     hearing, which is a civil proceeding. (PASF ¶273).

       87.     There was a delay with the El Rukns in providing the bribe money to

Swano. (Exhibit 29, Hawkins Deposition, p. 237-38). On June 17, 1986, the morning of

the trial, Swano went to El Rukn headquarters to get the bribe money. (United States

v. Maloney, 71 F.3d at 651).

       Response:     Plaintiff objects, as this Statement of Fact is not relevant and not
                     material.

                     Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                     because he received time off of his State sentence in exchange for
                     his testimony against Fields at Fields’s Innocence Petition
                     hearing, which is a civil proceeding. (PASF ¶273).

       88.     On June 17, 1986, Fields and Hawkins waived their rights to a jury trial

and for the first time, advised Judge Maloney they were taking a bench trial. (Exhibit 2,


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Fields Deposition, pp. 242-44).

      Response:     Plaintiff admits that he and Hawkins both waived jury trial on
                    June 17, 1986. Stating further, Plaintiff has insufficient
                    information to admit or deny that June 17, 1986 was the “first
                    time” Hawkins or his attorney so advised Maloney.

      89.     Nathson Fields made the decision in his case to take a bench trial rather

than a jury trial. (Exhibit 31, Smeeton Deposition, p. 42-43).

      Response:     Plaintiff denies. Stating further, Smeeton testified that he doesn’t
                    recall the decision being his to make, but that he is certain he was
                    asked his opinion, which was that it “looked like a dead-bang
                    winner.” (Def. Ex. 31, pp. 42-43). Plaintiff testified that “[i]t
                    seemed like at first we was thinking about the jury trial. That's
                    what I wanted, but I was concerned that the gang thing, the jury
                    might, you know, might have a problem with the gang thing. And
                    [Smeeton] was telling me that he had other cases before Maloney
                    and that he wouldn't go for the theory that the State was bringing,
                    and he said he felt quite confident that the judge would be, you
                    know -- he would see straight through, you know, the case that the
                    State was bringing and that a bench would be the way to go.” (Pl.
                    Ex. 107, pp. 79-80).

                    In addition, as this Court is aware, a criminal defendant has three
                    fundamental trial rights, one of which is whether to take a bench
                    or a jury. This decision must be “made” by a criminal defendant,
                    but is typically reached after consultation with his or her attorney,
                    as happened in this case.

      90.     Before the end of the trial, Judge Maloney returned the $10,000 in bribe

money to Swano because he thought the FBI was watching him. (Exhibit 20, Plaintiff’s

First Amended Petition for Post-Conviction Relief, ¶51; United States v. Maloney, 71

F.3d at 651; People v. Hawkins, 181 Ill. 2d at 48). Checked exhibit 20- also case #

      Response:     Plaintiff admits that this was in his First Amended Post-
                    Conviction Petition, which was filed on September 8, 1992, after
                    the allegations against Maloney and Swano came to light, and that
                    this Statement of Fact is in each of the opinions cited. Stating
                    further, the opinion in Maloney cited by Defendants indicates that


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                     there was evidence that it was FBI suspicions, “coupled with the
                     strength of the State's case” that prompted Maloney to return the
                     money to Hawkins’s lawyer William Swano. (United States v.
                     Maloney, 71 F.3d at 651).

       91.     Mike Angarola, a supervisor with the SAO, was made aware during

the 1986 bench trial of the possibility the El Rukns were trying to bribe Judge Maloney.

Angarola alerted the prosecuting attorneys to the possibility of a bribe, telling them to

be aware of it and “try your case.” (Exhibit 23, Wharrie Deposition, pp. 123-29 and

Plaintiff’s Exhibit ##120-121 discussed therein).

       Response:     Plaintiff admits that the States Attorney’s Office was aware that
                     Fields trial was corrupted. Stating further, the State’s Attorney’s
                     Office did not step in or otherwise inform Fields. (PASF ¶¶262-
                     263).

       92.     During the trial, the State presented a number of witnesses including

Randy Langston, Gerald Morris, and Anthony Sumner. (Fields I, 135 Ill. 2d at 28-34).

       Response:     Plaintiff admits.

       93.     In the 1986 trial, Gerald Morris testified he saw Fields and Hawkins

follow Fuddy Smith into the breezeway of the Ida B. Wells housing complex shortly

before he heard gunshots, and then saw the same two men run out of the breezeway

and throw guns into a waiting car before getting in that car. (Id. at 31).

       Response:     Plaintiff admits that Morris so testified. Stating further, Morris
                     admitted in December 2011 that he was coerced to identify Fields
                     and that he never saw the faces of the shooters of Smith and
                     Hickman. (PSF ¶110-116))

       94.     Sumner testified at the trial he entered into an agreement with the State,

in which the Vaughn/White murder charges against him would be dropped in



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exchange for his agreement to testify truthfully to all activities concerning El Rukn

gang members and to plead guilty to conspiracy to purchase drugs. (Id. at 34).

        Response:    Plaintiff admits that the case citation shows that Sumner so
                     testified. Stating further, Plaintiff denies that Sumner ever
                     testified “truthfully,” as he lied under oath repeatedly in many
                     trials and grand juries. (See Def. Ex. 61, pp. 100-101).

        95.    On June 26, 1986, Judge Maloney found Fields and Hawkins guilty of the

murders of Fuddy Smith and Talman Hickman. (Fields I, 135 Ill. 2d at 37; People v.

Hawkins, 181 Ill. 2d at 48).

        Response:    Plaintiff admits.

        96.    Fields and Hawkins elected to waive their right to a jury at the first

stage of the death sentencing hearing. Judge Maloney found both defendants eligible

for the death penalty. A jury was selected for the second stage to hear evidence in

aggravation and mitigation (Fields I, 135 Ill. 2d at 37-38).

         Response: Plaintiff admits. Stating further, Maloney denied the defendants'
                   motions for separate juries to determine whether to impose the
                   death penalty. (People v. Fields I, 135 Ill. 2d at 37).

        97.    As part of the aggravation phase of the second stage, the State

introduced evidence from Anthony Sumner in which he stated Hawkins and Fields

were involved in the Vaughn/White double murder. (Id. at 38-39).

        Response:    Plaintiff admits.

        98.    In mitigation, Fields and Hawkins called Randy Langston, who recanted

his trial testimony regarding his identification of the two defendants as the gunmen.

(Id. at 39).



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        Response:    Plaintiff admits.

        99.    Randy Langston testified at the death sentence hearing that he

identified Fields and Hawkins as the two shooters because Detective O’Callaghan told

him to do so, and he was afraid of O’Callaghan. (Exhibit 32, R. Langston 8/22/86 Trial

Testimony in People v. Fields, at 1295-1300).

        Response:    Plaintiff admits.

        100.   The jury returned verdicts finding there were no mitigating factors

sufficient to preclude the imposition of death. Judge Maloney then sentenced

Hawkins and Fields to death. (Fields I, 135 Ill. 2d at 39).

        Response:    Plaintiff admits.

VIII.   POST-TRIAL EVENTS

        101.   In early 1987, Earl Hawkins sent a letter to Detective Brannigan from

prison requesting a meeting before February 2nd of that year. (Exhibit 13, Brannigan

Deposition, pp. 270-72; Exhibit 29, Hawkins Deposition, pp. 89-91).

        Response:    Plaintiff admits that in early 1987 Hawkins sent Brannigan a letter
                     asking that Brannigan and Hawkins develop a mutual
                     “understanding.” (Pl. Ex. 105).

                     Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                     because he received time off of his State sentence in exchange for
                     his testimony against Fields at Fields’s Innocence Petition
                     hearing, which is a civil proceeding. (PASF ¶273).

        102.   When Brannigan went to meet him, Hawkins related that he wanted to

cooperate with authorities. Brannigan returned to Chicago and advised the SAO and

the United States Attorney’s Office that Hawkins wanted to cooperate. (Exhibit 13,



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Brannigan Deposition, pp. 274-76).

      Response:     Plaintiff objects to this Statement of Fact on the ground that it is
                    inadmissible hearsay. Stating further, when Brannigan went to
                    Menard to meet with Hawkins, Brannigan helped convince
                    Hawkins to cooperate by assuring Hawkins that he would only
                    serve 20 years in prison, a period which Hawkins considered
                    “doable.” (Pl. Ex. 109).

      103.    The SAO and the United States Attorney’s Office took care of the

necessary arrangements with Hawkins. Brannigan was not part of making those

arrangements. (Id. at pp. 276).

      Response:     Plaintiff objects to the word “necessary” as it does not appear in
                    the citation. Stating further, Plaintiff objects to this proposition as
                    vague as to “necessary arrangements”.

      104.    Murphy also met with Hawkins on a number of occasions.                When

Murphy initially met with Hawkins in Menard, he told Hawkins he couldn’t make

any promises to him. Hawkins eventually was brought up from Menard to the United

States Attorney’s Office. (Exhibit 15, Cmdr. Murphy Deposition, pp. 267-69).

      Response:     Plaintiff admits that Murphy so testified. Stating further,
                    promises were made to Hawkins. Earl Hawkins has testified that
                    defendant Brannigan helped convince him (Hawkins) to
                    cooperate by assuring him that he would only serve 20 years in
                    prison, a period which Hawkins considered “doable.” (PASF
                    ¶270).

      105.    In or around April 1987, Hawkins was transferred to the Metropolitan

Correctional Center and began cooperating with federal prosecutors. (Exhibit 1,

Plaintiff’s Third Amended Complaint, ¶49).

      Response:     Plaintiff admits that Hawkins left Menard in the spring of 1987
                    but denies that is when Hawkins “began” cooperating with
                    federal prosecutors because Brannigan was acting as a member of
                    the federal law enforcement team at the time of his earlier

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                     meetings with Hawkins. (PSF ¶31).

       106.    Hawkins worked out a plea deal with the government, but Murphy was

not part of those negotiations. He did not talk to Hawkins about what Hawkins’

expectations might be regarding a plea deal. (Exhibit 15, Cmdr. Murphy Deposition,

pp. 300-01).

       Response:     Plaintiff admits that Murphy so testified.

       107.    On or around July 1, 1987, Hawkins provided information to the federal

authorities about the El Rukn attempt to bribe Judge Maloney. (Exhibit 29, Hawkins

Deposition, pp. 234-37).

       Response:     Plaintiff denies. Stating further, the citation does not discuss any
                     “El Rukn attempt” to bribe Maloney; the cited pages refer to
                     Swano wanting to bribe Maloney. Moreover, Plaintiff denies that
                     Hawkins first provided information to federal authorities about
                     the El Rukn attempt to bribe Judge Maloney on or about July 1,
                     1987, because Brannigan was a “federal authority” since 1983 as a
                     member of the federal El Rukn task force and he learned of
                     Hawkins attempt to bribe judge Maloney while Hawkins was still
                     at Menard. Hawkins testified that the Maloney bribe was one of
                     the first things he told defendant Brannigan about when he
                     started to “cooperate.” (PSF ¶119; PASF ¶236).

                     Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                     because he received time off of his State sentence in exchange for
                     his testimony against Fields at Fields’s Innocence Petition
                     hearing, which is a civil proceeding. (PASF ¶273).

       108.    Hawkins’ cooperation with the government investigation of the El Rukns

included testifying in state and federal proceedings, including the federal RICO

trials starting in about 1991. (Id. at 241; 247).

       Response:     Plaintiff admits.




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                     Plaintiff objects to Hawkins’s 2013 testimony in its entirety
                     because he received time off of his State sentence in exchange for
                     his testimony against Fields at Fields’s Innocence Petition
                     hearing, which is a civil proceeding. (PASF ¶273).

       109.    Hawkins testified for the government at least ten times, including

multiple times about the Smith/Hickman murders. (Id.; Exhibit 33, Kelley Deposition,

pp. 41-42).

       Response:     Plaintiff admits that Hawkins so testified. Plaintiff objects to
                     Hawkins’s 2013 testimony in its entirety because he received time
                     off of his State sentence in exchange for his testimony against
                     Fields at Fields’s Innocence Petition hearing, which is a civil
                     proceeding. (PASF ¶273).

       110.    Hawkins also testified on behalf of the federal government in the

prosecution of Judge Maloney. (United States v. Maloney, 71 F.3d at 652).

       Response:     Plaintiff admits.

       111.    In 1990, the Illinois Supreme Court affirmed Fields’ and Hawkins’

convictions for the Smith/Hickman murders and their death sentences. (Fields I, 135 Ill.

2d at 77).

       Response:     Plaintiff admits.

       112.    On June 26, 1991, a federal grand jury returned a four-count indictment

against Judge Maloney and William Swano alleging, among other criminal acts, that

Swano forwarded the $10,000 bribe to Maloney to acquit Fields and Hawkins in the

1986 trial. Maloney was found guilty on all counts of the indictment on April 16, 1993.

(People v. Hawkins, 181 Ill. 2d at 45-46, 48).

        Response: Plaintiff admits. Stating further, Robert McGee was also indicted
                  in that case, and the indictment alleged that “Swano, with McGee


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                    acting as a go-between, forwarded a $10,000 bribe to Maloney to
                    acquit defendants in the Hawkins/Fields trial.” (People v.
                    Hawkins, 181 Ill. 2d at 47).

      113.    Fields filed his first amended post-conviction petition in September 1992,

arguing in part that Maloney’s acceptance of the bribe, its return, and Maloney’s

suspicion the FBI was investigating his conduct resulted in a deprivation of Fields’

due process rights. (Id. at 48-49; Exhibit 20, Plaintiff’s First Amended Petition for

Post-Conviction Relief, ¶¶51-53).

       Response:    Plaintiff admits that one of the grounds for relief cited in his First
                    Amended Post-Conviction Petition was the alleged attempt by
                    Hawkins and Swano to bribe Maloney. Plaintiff clarifies that ¶50
                    notes that Maloney had recently been indicated, and that ¶51
                    actually reads: “The bribe was accepted by Judge Maloney
                    pursuant to an agreement with Fields’ co-defendant, Earl
                    Hawkins, and Hawkins’ attorney, William Swano, whereby
                    Maloney would find Hawkins not guilty. When Judge Maloney
                    learned that the FBI was aware of the agreement and the bribe he
                    returned the money to Swano during the course of the trial.” (Def.
                    Ex 20, ¶¶ 50, 51).

                    In addition, Plaintiff’s Petition requested relief on the basis that
                    certain post-trial comments by Maloney indicated “bias on the part
                    of the trier of fact,” because they showed “that the court presumed
                    Fields and his co-defendant to be guilty.” (Def. Ex 20, ¶¶ 47-48).

      114.    Judge Deborah Dooling entered an order on September 18, 1996,

granting Fields’ post-conviction petition and ordering a new trial. Judge Dooling ruled

Fields was denied a fair      trial because Judge Maloney had a “direct, personal,

substantial, pecuniary interest” in the outcome of Fields’ trial. Judge Dooling also found

that post-conviction relief would not be barred by Hawkins’ and Fields’ own

participation in the bribery scheme. (People v. Hawkins, 181 Ill. 2d at 49).




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      Response:     Plaintiff admits that after learning of Judge Maloney’s acceptance
                    of a bribe Fields’s attorney amended his post-conviction petition
                    in September 1992 to add that as a ground for relief.

      115.    Sometime between the summer of 1991 and December 1991, Sumner

recanted his statement that Fields was involved in the Vaughn/White homicides to

AUSA William Hogan. (Exhibit 13, Brannigan Deposition, pp. 220-26; Exhibit 23,

Wharrie Deposition, pp. 146-50;      Exhibit 61, Hogan Certificate of Innocence

Testimony, at p. 103).

      Response:     Plaintiff denies. Stating further, in the citations to Brannigan’s
                    and Wharrie’s depositions, the witnesses describe Sumner’s
                    handwritten recantation dated January 3, 1992. (Def. Ex. 13, pp.
                    225-26; Def. Ex. 23, pp. 149-150) Sumner’s recantation indicates
                    that he discussed his false statements and testimony about Fields
                    with Hogan in the Summer of 1991. (Def. Ex. 34, p. 5) (Sumner
                    recantation also marked as Pl. Ex. 27). AUSA William Hogan has
                    testified learned that Anthony Sumner had falsely implicated
                    Nathson Fields in the Vaughn-White murders in May or June of
                    1991, that that he waited until December of 1991 to notify
                    the Cook County State’s Attorney because, he (Hogan) was busy.
                    (PASF ¶250).

      116.    Sumner also provided a written statement to ASA Jack Hynes and

Investigator Norfie DiCiolla on January 3, 1992, in which he confirmed his statements

regarding the Vaughn/White murders were correct except that Fields was not

involved in those murders. Sumner further indicated the first time he told anyone

Fields was not involved in the Vaughn/White murders was when he talked to AUSA

Hogan in 1991. Before that, he never told any AUSAs, ASAs, or police officers.

(Exhibit 1, Plaintiff’s Third Amended Complaint, ¶51; Exhibit 23, Wharrie

Deposition, pp. 149-50; Exhibit 34, ASA O’Brien Letter attaching Sumner Statement).




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       Response:      Plaintiff admits that Sumner signed a statement in early January,
                      1992 admitting that he lied about Fields’s involvement in the
                      Vaughn/White murders because “[he] was confused and afraid.
                      Nathson Fields had put [his] family out of one of the El Rukn
                      buildings and [he] did not like [Fields]”, and that he told AUSA
                      Hogan in the summer of 1991 that Fields was not involved in that
                      murder. (PASF ¶249).

                      Stating further, ASA Hynes admitted at his testimony at Fields’s
                      Innocence hearing that during the January 1992 recantation
                      Sumner was not asked about any other specific statements that he
                      made regarding other individuals, or about the Smith and
                      Hickman murders. (PSF ¶108).

       117.     On January 10, 1992, the State’s Attorney’s Office provided a copy of

Sumner’s written statement of January 3, 1992, to Fields’ then criminal counsel, John

Stainthorp. (Exhibit 34).

       Response:      Plaintiff admits.

       118.     Plaintiff’s First Amended Petition for Post-Conviction Relief, filed

September 8, 1992, attached Sumner’s January 3, 1992 written statement to ASA Hynes

as an exhibit. (Exhibit 20, Plaintiff’s First Amended Petition for Post-Conviction

Relief, ¶58).

       Response:      Plaintiff admits.

       119.     Brannigan first learned of Sumner’s recantation concerning Fields’

involvement      in the Vaughn/White murders from AUSA Hogan. (Exhibit 13,

Brannigan Deposition, pp. 208, 223).

       Response:      Plaintiff admits that Brannigan testified that he learned of
                      Sumner’s recantation from Hogan. Stating further, Brannigan did
                      not recall when he learned this information. (Def. Ex. 13, pp. 225-
                      26).




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       120.   Sumner did not recant any portion of his testimony regarding Fields’

involvement in the Smith/Hickman double homicide. (Exhibit 23, Wharrie Deposition,

p. 147).

       Response:    Plaintiff admits that Sumner’s written recantation statement does
                    not include a recantation regarding the Smith and Hickman
                    murders. Stating further, according to (former) ASA Hynes,
                    Sumner was not asked about any of the other accusations he made
                    against Fields or anyone else. (PSF ¶108).

       121.   Sumner was killed in an automobile accident in Atlanta, Georgia, in

January, 1992. (Exhibit 13, Brannigan Deposition, pp. 218; 226).

       Response:    Plaintiff admits that the defendants have stated that Sumner was
                    killed in an automobile accident in Georgia. Stating further, upon
                    information and belief, no defendant did any investigation of
                    Sumner’s death, including Defendant Brannigan who claimed
                    that he was unsure about details of Sumner’s death, despite the
                    fact that Brannigan’s name and contact information appear in the
                    medical examiner’s file. (Def. Ex. 13, pp. 219-222).

       122.   Plaintiff’s First Amended Petition for Post-Conviction Relief, as one of

the asserted grounds for relief, claimed Fields’ trial counsel was ineffective for failing

to pursue the investigation of a “potentially important” witness, Sandra Langston, who

had been disclosed in police reports. (Exhibit 20, Plaintiff’s First Amended Petition

for Post-Conviction Relief,¶20).

       Response:    Objection to the mischaracterization of the citation. Stating
                    further, ¶20 raises an ineffective assistance claim for failure to
                    pursue the investigation of Sandra Langston and “other
                    potentially important witnesses.”

       123.   David Kelley, one of the prosecutors assigned to Nathson Fields’ retrial,

brokered a plea agreement with Earl Hawkins regarding the Smith/Hickman matter.

(Exhibit 33, Kelley Deposition, pp. 41-49).

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       Response:     Plaintiff admits that Kelley so testified.

       124.   In 1999, Randy Langston had provided an affidavit to Fields’ criminal

defense counsel in which he stated his testimony at the sentencing hearing was “the

truth.” (Exhibit 35, Langston 1999 Affidavit).

       Reponse:      Plaintiff admits that in 1999 Field’s attorney Timothy Lohraff
                     interviewed Langston in the presence of a paralegal and Langston
                     signed an affidavit admitting that he saw 2 masked men shoot
                     Smith and Hickman, that he couldn’t see their faces well enough
                     or long enough to be able to identify them, and that he did not tell
                     the truth when he testified at Field’s trial that he saw Fields and
                     Hawkins shoot Smith and Hickman (Def. Ex. 35).

                     Stating further, Langston testified at the sentencing phase of
                     Fields’s trial that O’Callaghan had pressured him to testify falsely
                     against Fields. (Def. Ex. 32, pp. 1295-1300).

       125.   Kelley located and talked with Randy Langston about his testimony at

the 1986 trial and his recantation during the sentencing hearing. Langston provided

Kelley with a statement that was consistent with his trial testimony. (Exhibit 33,

Kelley Deposition, pp. 92- 95).

       Response:     Plaintiff admits that Kelley so testified. Stating further, At some
                     point after the Illinois Supreme Court granted Fields a new trial,
                     (state appeals prolonged the start of Fields’s retrial until 2009) the
                     assistant state’s attorneys assigned to Mr. Fields’ case moved
                     witness Randy Langston into an apartment and paid more than
                     $2,000 on Langston’s behalf – in order to cover rent and security
                     deposit expenses. (Pl. Ex. 104: Randy Langston Testimony of 2-24-
                     2009, pp. 95-96.)

       126.   Langston told Kelley he recanted his testimony at the sentencing hearing

because his older brother James told him El Rukns were pressuring his family and

making threats. (Id. at 95-97).




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       Response:     Plaintiff objects to this Statement of Fact on the ground that it is
                     inadmissible hearsay. Stating further, Plaintiff denies, as Mr.
                     Langston testified that defendant O’Callaghan had pressured him
                     to falsely testify against Mr. Fields. (Def. Ex. 32: Randy Langston
                     aggravation Hearing Testimony, pp. 1295-1300).

       127.    Kelley also interviewed Eric Langston, who said he did not want to get

involved with the El Rukns. Kelley believed Eric felt threatened and was afraid to

testify against the El Rukns. (Id. at 97-100).

       Response:     Plaintiff objects to this Statement of Fact on the ground that it is
                     inadmissible hearsay. Plaintiff objects to what Kelley “believed”
                     as pure speculation.

       128.    As the federal RICO investigation of the El Rukns proceeded, a

number of El Rukns in addition to Hawkins and Sumner began to cooperate with

the prosecutors. These cooperating El Rukn witnesses included Derrick Kees, Eugene

Hunter, Jackie Clay, and Tramell Davis, each of whom along with Hawkins and

Sumner implicated Nathson Fields in the Smith/Hickman homicides. (Exhibit 24,

Sumner 1986 Trial Testimony in People v. Fields, pp. 375-80; Exhibit 36, Hawkins

Trial Testimony (August 1991) in United States v. Andrews, pp. 2147-89; Exhibit 37,

Kees Trial Testimony (3/12/93) in United States v. Maloney, pp. 1018-25; Exhibit 38,

Hunter Trial Testimony (8/6/91) in United States v. Andrews, pp. 4744-46; Exhibit 39,

Clay Trial Testimony (10/8/91) in United States v. Bates, at 1260-65; Exhibit 40,

Tramell Davis Deposition, pp. 30-35; 54-56, 172, with Tramell Davis Deposition

Exhibit #1).

       Response:     Plaintiff objects to SOF #128 as an improper fact under Local. R.
                     Civ. P. 56, which requires short, numbered paragraphs with
                     specific references to the parts of the record relied upon.


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                      Plaintiff objects to Trammel Davis’s testimony in its entirety
                      because between 2012 and 2013, the Cook County State’s
                      Attorney’s Office covered at least three rental payments for
                      Tramell Davis, saving him from eviction, in exchange for
                      testifying against Mr. Fields in this proceeding and in the civil
                      innocence hearing. (PASF ¶275).

VIII.     2009 CRIMINAL RETRIAL BEFORE JUDGE GAUGHAN

          129.   On January 29, 1998, the Illinois Supreme Court affirmed Judge

Dooling’s order that vacated Fields’ and Hawkins’ convictions for the Smith/Hickman

murders and ordered a new trial. (People v. Hawkins, 181 Ill. 2d 41).

          Response:   Plaintiff admits.

          130.   On remand, the matter was assigned to Judge Vincent M. Gaughan.

(Exhibit 1, Plaintiff’s Third Amended Complaint, ¶59; Exhibit 33, Kelley Deposition,

p. 29).

          Response:   Plaintiff admits.

          131.   In or around December 2002, Earl Hawkins agreed to plead guilty to two

counts of armed violence based on the shootings of Smith and Hickman, and the

prosecution agreed to recommend a sentence to run concurrently with Hawkins’ prior

federal sentence on his guilty plea to bribery charges, to be served in full in federal

custody. (People v. Fields, 357 Ill. App. 3d 780, 782, 829 N.E.2d 917 (1st Dist. 2005)

(“Fields II”); Exhibit 33, Kelley Deposition, pp. 78-83).

          Response:   Plaintiff denies. Stating further, although the citation to Fields II
                      indicates that a few months after the State agreed to drop murder
                      charges against Hawkins he was interviewed—which interview it
                      claims occurred in December 2002—and then entered in to an
                      agreement to plead guilty to armed violence, former ASA Kelley


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                      testified that Hawkins’s plea agreement was not signed and
                      entered in to until the day of his testimony in Fields’s retrial,
                      which was in 2009. (Def. Ex. 33, p.83) (See also PASF ¶ 272).

       132.    The State took two separate appeals from pretrial rulings made by Judge

Gaughan, resulting in appellate court opinions issued in 2001 and 2005. (People v.

Fields, 2011 IL App (1st) 100169 (“Fields III”), ¶¶ 6-7). Fields’ retrial took place in the

Spring of 2009, and was a bench trial. (Exhibit 1, Plaintiff’s Third Amended

Complaint, ¶59).

       Response:      Plaintiff admits.

       133.    In the 2009 trial, Randy Langston testified Fields and Hawkins (a/k/a

“Mansur”) were the two shooters. (Exhibit 33, Kelley Deposition, pp. 177-78; 202-04).

       Response:      Plaintiff admits.

       134.    In the 2009 trial, Randy Langston testified he did not testify truthfully at

the death penalty hearing because he had been threatened by the El Rukns. (Exhibit

41, R. Langston 2/24/09 Trial Testimony in People v. Fields, at 35-36).

       Response:      Plaintiff admits that Randy Langston so testified at the retrial.

       135.    In the 2009 trial, Randy Langston also testified he provided the 1999

affidavit to Fields’ criminal defense attorneys because he was afraid for his family and

himself. (Id. at 37- 38; 99).

       Response:      Plaintiff admits that Randy Langston so testified at the retrial.

       136.    In the 2009 trial, Gerald Morris testified he saw Fields and Hawkins

follow Fuddy Smith into the breezeway of the Ida B. Wells housing complex shortly

before he heard gunshots, and then saw the same two men run out of the breezeway

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and throw guns into a waiting car before getting in that car. (Exhibit 42, Morris 3/25/09

Trial Testimony in People v. Fields, at 9-19).

       Response:     Plaintiff admits that Gerald Morris so testified at the 2009 retrial.

       137.    In the 2009 trial, Earl Hawkins testified Fields and George Carter were

the two shooters. (Exhibit 33, Kelley Deposition, pp. 202-04; Exhibit 1, Plaintiff’s

Third Amended Complaint, ¶58).

       Response:     Plantiff admits that Hawkins so testified.

       138.    On April 8, 2009, Judge Gaughan found Fields not guilty of the

Smith/Hickman murders. (Exhibit 1, Plaintiff’s Third Amended Complaint, ¶59).

Judge Gaughan determined the State failed to prove Fields guilty beyond a reasonable

doubt. (Fields III, 2011 IL App (1st) 100169, ¶8).

       Response:     Plaintiff admits that Judge Gaughan found him not guilty. Stating
                     further, the citation indicates that in announcing his decision
                     Judge Gaughan noted that “there was no unimpeached witness
                     identifying [Fields] as one of the gunmen. Under these
                     circumstances, the court found the State failed to prove defendant
                     guilty beyond a reasonable doubt.”

       139.    In this civil proceeding, Plaintiff’s counsel produced an affidavit of

Gerald Morris dated 12/13/11. (Exhibit 43, Morris Affidavit).

       Response:     Plaintiff denies. Stating further, Plaintiff’s counsel produced two
                     affidavits from Gerald Morris dated 12/13/11. (See PSF ¶111-116).

       140.    According to the Affidavit, Morris heard gunshots and saw two men

running from the scene to a car on the street on the day of the Smith/Hickman murders.

Morris further stated in the affidavit he did not see Fields on that date or at any other

time. (Id.)


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       Response:     Plaintiff admits that in one of the Affidavits Morris states that he
                     heard gunshots and saw two men running.

                     Plaintiff denies that the affidavit states that the two men were
                     running “from the scene.” the complete paragraph is as follows:
                     “That on April 28, 1984, I was staying at Sandra Langston's
                     apartment. At the time of the incident I was inside the
                     apartment getting ready to go out with Fuddy. Fuddy was
                     waiting for me downstairs. I was ironing a shirt when I heard
                     several gun shots. From the window I saw two men wearing
                     masks running to a car on the street. I believe that the car was a
                     light blue 4 door Cadillac with a white top. I ran downstairs and
                     saw Talman Hickman shot and on the ground next to the janitors
                     closet. Just around the comer I saw Fuddy shot on the ground. I
                     then began to call out that people had been shot. I never saw the
                     faces of the two men.” (PSF ¶111-116).

       141.    Morris also claims in the affidavit about a year after the Smith/Hickman

shootings, O’Callaghan asked him to go to the police station because they had the

guys that shot Fuddy. According to the affidavit, O’Callaghan and another detective

mentioned Fields by name, said he was an El Rukn, and took Morris to the police

station to look at some photos. Morris states in the affidavit: “From the photos I was

shown, I picked out Nate Fields even though I never saw Nate Fields the day of the

murder or at any other time. Detective O’Callaghan indicated that I made the right

decision and that Nate Fields was the guy.” (Id.)

       Response:     Plaintiff admits.

       142.    The affidavit further asserts O’Callaghan and Morris knew Morris’

testimony was not true, but Morris was afraid to speak up against O’Callaghan and the

other detectives. (Id.)

       Response:     Plaintiff admits. Stating further, Morris stated that the reason
                     O’Callaghan knew Morris’s testimony was not true is because


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                      “[That] when I first spoke to Detective O'Callaghan and the
                      other detective, I told them that although I did see the men
                      running away to a Light Blue Cadillac I could not see their
                      faces.” (Def. Ex. 43).

IX.       CERTIFICATE OF INNOCENCE PROCEEDINGS

          143.   In August 2009, Fields filed a petition for certificate of innocence under

735 ILCS 5/2-702. Judge Paul Beibel granted Fields a certificate of innocence on

December 10, 2009. (Fields III, 2011 IL App (1st) 100169, ¶¶ 9, 12).

          Response:   Plaintiff admits.

          144.   The Illinois Appellate Court reversed Judge Beibel’s order granting Fields

a certificate of innocence and remanded the matter for further proceedings. (Id. at ¶¶

19-20).

          Response:   Plaintiff admits.

          145.   Fields’ petition for certificate of innocence is currently pending before

Judge Beibel. (Exhibit 60, Sexton Affidavit, ¶4).

          Response:   Plaintiff admits.

          146.   In the 2013 evidentiary hearing on Fields’ petition for a certificate of

innocence, Randy Langston reaffirmed his 2009 trial testimony that he did not testify

truthfully at the death penalty hearing because he had been threatened by the El

Rukns. (Exhibit 62, R. Langston Certificate of Innocence Testimony, at pp. 223-35).

          Response:   Plaintiff admits that Randy Langston so testified.

X.         “SUBJECT FILE”

          147.   On September 13, 2011, the City produced to plaintiff as part of



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discovery in this lawsuit a copy of an area file labeled “Smith + Co.” consisting of

documents pertaining to the CPD’s Smith/Hickman investigation (hereinafter for ease

of reference, the “Subject File”).    These documents were Bates stamped City-NF-

001028–001117. (Exhibit 44, Subject File (also designated during discovery as

“Plaintiff’s Exhibit 3”)).

       Response:      Plaintiff denies. The full file is Bates-stamped CITY-NF 00972-
                      001117. (PSF ¶128).

       148.    The Subject File contains investigative notes and miscellaneous items

generated between April 28, 1984 and June 1984. (Id.)

       Response:      Plaintiff admits that the subject file as produced to Plaintiff in
                      discovery in this case contains investigative notes commencing on
                      April 18, 1984 (the day of the murders). Plaintiff denies that there
                      are no notes after June 1984, as some notes are not dated.

       149.    The Subject File contains investigative notes attributable to Detectives

Bogdalek, Minogue, Hood, and Evans. (Exhibit 4, Hood Deposition, p. 155; Exhibit

5, Evans Deposition, pp. 105-06; Exhibit 7, Bogdalek Deposition, pp. 146-47;

Exhibit 8, Minogue Deposition, pp. 57-58).

       Response:      Plaintiff admits that there are notes from the named detectives in
                      the file. Stating further, there are notes that are unidentified in the
                      file.

       150.    Plaintiff is claiming he never received the Subject File prior to its

September 2011 production in this case, despite numerous subpoenas requesting such

materials issued throughout the criminal proceedings. Plaintiff claims he did not have

certain documents found within the Subject File during his criminal trials in 1986 or

2009. (See, e.g., Plaintiff’s Motion to Compel, Dkt. #201).


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       Response:       Plaintiff admits he claims he never received the file prior to
                       September 2011, and that he did not have documents found within
                       the file at either of his criminal trials. Stating further, the City has
                       admitted that it has no evidence that the file was ever tendered to
                       the plaintiff and the State’s Attorneys have admitted that they
                       never had the file until it was tendered by the City to Plaintiff.
                       (PSF ¶233-34).

       151.     The names of James Langston, Randy Langston, Carlos Willis, and

Cleveland Ball are referenced in documents found in the Subject File, and they were

called as witnesses at the 1986 trial. (Exhibit 44, at Bates CITY-NF-001047, 001075;

Fields I, 135 Ill. 2d at 29-39).

       Response:       Plantiff admits. Stating further, those names appear in a version of
                       a document that is also in the “street file.” (PSF ¶232). Stating
                       further, James Langston was called as a defense witness during the
                       sentencing phase.

       152.     Detectives Hood, Evans, Bogdalek and Minogue did not withhold or

destroy any notes pertaining to the Smith/Hickman homicide investigation. (Exhibit 4,

Hood Deposition, p. 121; Exhibit 5, Evans Deposition, pp. 17-18, 96, 104; Exhibit 7,

Bogdalek Deposition, pp. 80, 103-04; Exhibit 8, Minogue Deposition, pp. 182-83).

       Response:       Plaintiff denies. Stating further, the citations do not support the
                       proposition. The citations support only the following
                       propositions: Hood testified that he did not destroy his notes;
                       Evans testified that it was his practice to turn his notes in to the
                       sergeant’s in-box; Bogdalek testified that in response to Fields’s
                       1988 complaint he stated that he he did not suppress any notes;
                       and Minogue testified that in response to Fields’s 1988 complaint
                       he stated that he did not destroy notes or withhold information.
                       Further, Bogdalek testified that he knew at the time of Field’s first
                       trial in 1986 that some of his notes were missing from the file.

       153.     Detective O’Callaghan testified he did not suppress written notes or

withhold any exculpatory information of a written nature pertaining to the



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Smith/Hickman homicide investigation. (Exhibit 9, O’Callaghan Deposition, pp. 201-

02).

       Response:    Plaintiff admits that O’Callaghan so testified. Stating further,
                    O’Callaghan also testified that he thinks that “in this particular
                    one” it would be his determination as to whether information is
                    exculpatory. (Def. Ex. 9, p. 203).

       154.   Detective O’Callaghan testified he did not know of any information

that would have exonerated Nathson Fields in the Smith/Hickman homicides.

(Exhibit 9, O’Callaghan Deposition, p. 203).

       Response:    Plaintiff admits that O’Callaghan so testified.

       155.   The Subject File contains a form entitled “Request for Identification

Photos,” which reflects a request for photographs of Gerald Green, Rodell Banks,

and Edward Stewart made by Detective Bogdalek, and approved by then-Sergeant

Murphy, and dated April 29, 1984. (Exhibit 44, at Bates CITY-NF-001038).

       Response:    Plaintiff admits that the form approved by Sergeant Murphy is
                    dated April 29, 1984, the day after the murders.

       156.   Gang Specialist Casto testified he never saw the Subject File prior to

preparing for his deposition in this case, and he had no knowledge whether the Subject

File was withheld from Fields. (Exhibit 12, Casto Deposition, pp. 14; 72; 75).

       Response:    Plaintiff admits that Casto so testified. Plaintiff denies that Casto
                    had no knowledge whether the Subject File was withheld from
                    Fields because Casto was served with a pro se complaint filed by
                    Fields in 1988 putting Casto on notice that Fields was only
                    provided with 8 pages of materials. (SOF ¶74)

       157.   Gang Specialist Brannigan testified he never saw the Subject File prior

to preparing for his deposition in this case, and he had no knowledge of its existence


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before that time. Brannigan testified he never ordered the destruction of any police

evidence. (Exhibit 13, Brannigan Deposition, pp. 51, 303-04).

       Response:       Plaintiff admits that Brannigan so testified.

       158.     According to Gang Specialist Kolovitz, none of the documents in the

Subject File were familiar to him. (Exhibit 14, Koloviz Deposition, pp. 141-42).

       Response:       Plaintiff has voluntarily dismissed Kolovitz. (See Docket Entry
                       #454).

       159.     Other than a copy of a Supplementary Report also found in the

Permanent Retention file, none of the documents in the Subject File were familiar

to Gang Specialist        Richardson or in his handwriting. (Exhibit 6, Richardson

Deposition, p. 164).

       Response:       Plaintiff denies. Nothing in the cited document supports this
                       proposition.

       160.     Detective Kobel had no recollection of doing anything on the

Smith/Hickman investigation. (Exhibit 10, Kobel Deposition, p. 109).

       Response:       Plaintiff has voluntarily dismissed Kobel. (See Docket Entry
                       #454).

       161.     No documents in the Subject File reference or are attributed to Detectives

Kobel or Robertson, or Gang Specialists Richardson, Casto, Brannigan, or Kolovitz.

(Exhibit 44).

       Response:       Plaintiff denies this proposition as unsupported. Stating further,
                       most of the cited documents have no identifiers. Plaintiff has
                       voluntarily dismissed Robertson, Kobel and Kolovitz. (See
                       Docket Entry #454).

       162.     James Hickey, Assistant Director of Research and Development for


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the CPD, testifying as a Rule 30(b)(6) witness for the City, explained the process

involved when the State’s Attorney’s Office requested a file from the CPD. (Exhibit

45, Hickey Deposition, pp. 4; 44-45).

       Response:     Plaintiff admits.

       163.    The request would go directly to the Records Division, which would

then contact the various units within the CPD that might be able to respond to the

SAO’s request. Someone in the units would find what the SAO was looking for and

make copies. The units would send the information to the Records Division, which

would bundle up the documents from the responding units and give it to the requester.

The process was clerical in nature. (Id. at 44-45).

       Response:     Plaintiff admits that Hickey so testified. Stating further, Hickey
                     also testified that those persons in these receiving units would do
                     a good-faith search, and that if something is found make copies—
                     hopefully both sides, if it's a two-sided report. Def. Ex. 45, p. 45).

       164.    The Records Division also would handle subpoena requests for a file

made by a defense attorney during the course of a criminal proceeding. (Id. at 48-49).

       Response:     Plaintiff admits that Hickey so testified. Stating further, the
                     Records Division would make a determination of which unit best
                     could respond to the subpoena and put the request in
                     interdepartmental mail to the unit of investigative responsibility
                     or the person who may have the unit information. Hickey does
                     not know if the request would be sent to the commanding officer,
                     he only knows that it is sent to the investigative unit of
                     responsibility. Hickey does not know if the Records Division
                     keeps a record of requests sent to investigative units. (Def. Ex. 45,
                     pp. 48-49.)

       165.    Assistant State’s Attorney Brian Sexton was one of the prosecutors in

Fields’ 2009 trial. (Exhibit 60, Sexton Affidavit, at ¶¶ 2-3).


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      Response:     Plaintiff admits. Stating further, ASA Sexton was one of the
                    prosecutors representing the State’s Attorney’s Office in its
                    opposition to Fields’s Innocence Petition hearing, and was a
                    defendant in this case until Plaintiff voluntarily dismissed him.

      166.    The State’s decision to proceed to trial in 2009 against Fields for the

Smith/Hickman murders would not have been altered by disclosure of the Subject

File. There was nothing in the Subject File of evidentiary value inconsistent with the

sworn testimony of the three eyewitnesses that Fields was one of the two shooters of

Smith and Hickman. (Id. at ¶6).

      Response:     Plaintiff objects to the self-serving testimony of the ASA.

                    Plaintiff admits that ASA Sexton so testified in his affidavit.

                    ASA Sexton was only able to bring the matter to trial again by
                    coercing witnesses to falsely testify and by offering perks to
                    witnesses to testify against Fields. (PASF ¶272-275).

      167.    The State would not have dismissed the charges against Fields had the

Subject File been disclosed earlier. If the Subject File had been disclosed earlier, the

State still would have proceeded to trial against Fields based on the sworn testimony

that he was one of the shooters of Smith and Hickman. (Id.)

      Response:     See response to 166.



      XI.    MONELL CLAIMS

      168.    Plaintiff alleges the CPD had a policy and practice to withhold

exculpatory information in so-called “street files.” (Exhibit 1, Plaintiff’s Third

Amended Complaint, ¶63).




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       Response:     Plaintiff denies. Stating further, Plaintiff’s complaint alleges that
                     constitutional violations occur because of the CPD’s policies and
                     practices. Specifically, that “The unconstitutional withholding of
                     exculpatory information from Fields' defense in this case, as well
                     as the possible destruction of the same, was all undertaken
                     pursuant to, and proximately caused by, policies and practices on
                     the part of the Chicago Police Department and acquiesced to by
                     the State's Attorney of Cook County. (Def. Ex. 1, ¶63).

       169.    Plaintiff alleges it was the policy of the CPD to record and preserve

investigative materials, including so-called “street files” and “General Progress

Reports,” in an investigative file case folder. (Id. at ¶64).

       Response:     Plaintiff admits. Stating further, the Constitution and court
                     precedent requires that the City preserve those materials for
                     production to criminal defendants. Brady v. Maryland, 373 U.S.
                     83 (1963).

       170.    Detective Division Special Order 83-1 was the governing directive

concerning detectives’ retention of notes of homicide investigations in the 1984-85 time

frame. (Exhibit 17, CPD Special Order 83-1; Exhibit 45, Hickey Deposition, p. 27).

       Response:     Plaintiff admits.

       171.    Detective Division Special Order 83-1 requires the maintenance and

retention of working files, investigative documents, and personal notes generated

by homicide detectives during an investigation. (Exhibit 17, CPD Special Order 83-

1; Exhibit 45, Hickey Deposition, pp. 50-51).

       Response:     Plaintiff denies Stating further, Special Order 83.1 outlines the
                     requirements for control and retention of “all violent crime field
                     investigation documents and files, which previously may have
                     been referred to as working files, running files or detective’s
                     personal files and notes,” among other related requirements and
                     guidelines. (Def. Ex. 17).



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          172.   Detective Division Special Order 83-1 expressly states it is the policy of

the CPD that detectives “preserve and record information and materials obtained in

the course of the investigation to assure not only that information and materials

indicating the possible guilt of the accused are preserved, but also that any

information and materials that may tend to show his possible innocence or aid in his

defense is preserved.” (Exhibit 17, CPD Special Order 83-1, at Section III).

          Response:    Plaintiff admits that Special Order 83-1 so states.

          173.   Plaintiff’s disclosed police practices expert, Lou Reiter, did not know

whether any other municipality in the country had a written policy like Special Order

83-1 as of 1984. Reiter opined CPD’s implementation of Special Order 83-1 was good

police practice. (Exhibit 46, Reiter Deposition, pp. 79-80, 94).

          Response:    Plaintiff admits that Lou Reiter stated that he did not know one
                       way or the other whether any other municipalities in the country
                       had a written policy like Special Order 83-1. Stating further,
                       Reiter stated that he understood the reason behind that policy
                       which was the Palmer case, wherein the Chicago Police
                       Department was found to be hiding investigative materials from
                       defendants. (Pl. Ex. 149, Report of Lou Reiter, p. 8).

          174.   Special Order 83-1 does not require an audit of CPD’s investigative files.

(Id. At 87).

          Response:    Plaintiff admits that Special Order 83-1 did not require an audit or
                       any procedure to check to see if the “special order” was working
                       or being followed.

          175.   Mr. Reiter was unaware of any evidence that would have suggested to

CPD that an audit was required after the implementation of Special Order 83-1. (Id. at

94-95).


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       Response:     Plaintiff admits that special order 83-1 had no language suggesting
                     that the CPD should do an audit or otherwise check to see if the
                     special order was actually being followed. Stating further, Mr.
                     Reiter went on to clarify that the lack of any language requiring an
                     audit “[It] basically says that there was a deliberate indifference,
                     they didn't care about these files or the requirement to adhere to
                     83-1. If you don't audit, then you are going on hope and faith that
                     the people do the job properly. Experience in law enforcement
                     has shown that doesn't always work.” (Def. Ex. 46, p. 95).

       176.   Other than this litigation, Mr. Reiter was unaware of any other case

since the implementation of Special Order 83-1 in which it was alleged the CPD

withheld Brady or Giglio material from a criminal suspect. (Id. at 85).

       Response:     Plaintiff admits that Mr. Reiter was not called upon to provide
                     expertise on other possible cases.

       177.   Detective Division Special Order 86-3 became effective May 29, 1986, and

provided guidelines for the retention and preservation of investigatory materials

gathered and generated in certain criminal investigations, including all homicide

investigations. (Exhibit 47, CPD Special Order 86-3).

       Response:     Plaintiff admits that the City enacted rule 86-3 less than three
                     weeks prior to Fields’s first trial. Stating further rule 86-3
                     required the preservation of “documentary materials,” not the
                     preservation of “investigatory materials.” (Def. Ex. 47)

       178.   Detective Division Special Order 86-3 expressly states it is the policy of

the CPD that detectives “preserve and record information and materials obtained in

the course of an investigation to ensure not only that information and material

incriminating the accused are preserved, but that information and material that

might aid in the defense of the accused are preserved as well.” (Id. at Section II).

       Response:     Plaintiff admits that Detective Division Special Order 86-3 so


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                      states.

          179.   Plaintiff alleges the CPD had a policy and practice of securing false

convictions through flawed investigations. Specifically, plaintiff alleges the CPD in

conjunction with other agencies targeted El Rukn street gang members regardless of

guilt or innocence and facilitated the malicious prosecutions of those gang members.

(Exhibit 1, Plaintiff’s Third Amended Complaint, ¶¶ 68-69; 72-74).

          Response:   Plaintiff denies. Stating further, this proposition suggests that
                      Plaintiff’s complaint alleges that it is the CPD’s policy to do false
                      investigations. This is false and not supported by the record.
                      Plaintiff is alleging that the CPD policies allow for false
                      investigations. (Def. Ex. 1).

          180.   The federal government became interested in investigating the El

Rukns, particularly because of the RICO statute. (Exhibit 23, Wharrie Deposition, pp.

14-15).

          Response:   Plaintiff admits that Defendant Wharrie so testified at his
                      deposition.

          181.   The Justice Department developed a regional task force known as the

Organized Crime Drug Task Force (“OCDTF”) made up of Assistant United States

Attorneys and agents from various law enforcement agencies in the Northern District

of Illinois to jointly investigate and prosecute drug cases. (Exhibit 16, Deady

Deposition, pp. 44-45).

          Response:   Plaintiff admits that Deady so testified at his deposition.

       182. An investigation of the El Rukns for racketeering and drugs was
assigned to the OCDTF. Chicago police officers were assigned to the investigation,
along with a member of the Cook County State’s Attorney’s Office (“SAO”) and
federal agents from the Bureau of Alcohol, Tobacco & Firearms (“ATF”). (Id. at pp. 6-8;


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45-47).

          Response:   Plaintiff admits that Deady so testified. Stating further, Deady
                      testified that Brannigan and Kolovitz were Chicago Police officers
                      assigned to the Task Force, and that in various cases there were
                      also DEA agents, FBI agents, customs agents, and U.S. Marshals
                      working on various cases. (Def. Ex. 16, pp. 8, 45).

          183.   At   various   times,   CPD    officers   Brannigan,   Kolovitz,   Murphy,

O’Callaghan, Kobel, and Robertson were detailed to the ATF, SAO, and/or OCDTF as

part of the joint investigations of the El Rukns. (Exhibit 9, O’Callaghan Deposition,

pp. 7-8; Exhibit 15, Murphy Deposition, pp. 50-51; Exhibit 13, Brannigan Deposition,

p. 110; Exhibit 14, Kolovtiz Deposition, p. 9; Exhibit 10, Kobel Deposition, p. 99;

Exhibit 11, Robertson Deposition, pp. 164-67).

          Response:   Plaintiff admits that the above were part of the task force for
                      periods of time.

                      Plaintiff has voluntarily dismissed Robertson, Kobel and
                      Kolovitz. (See Docket Entry #454).
          184.   The OCDTF investigated information about the El Rukns provided by

cooperating witness Anthony Sumner. (Exhibit 10, Kobel Deposition, p. 99).

          Response:   Plaintiff has voluntarily dismissed Kobel. (See Docket Entry
                      #454).

XII.      PLAINTIFF’S CLAIMS IN THE THIRD AMENDED COMPLAINT (“TAC”)

          185.   Count I of the Third Amended Complaint (“TAC”) is styled as a

§1983 claim based on the alleged violation of Plaintiff’s due process rights. Count I

alleges due process violations arising from Defendant Officers’ (1) suppression of

and/or failure to disclose exculpatory evidence and (2) coercion of witnesses and/or

fabrication of evidence. (Exhibit A, TAC, ¶¶ 85-86).

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        Response: Plaintiff denies, as there is no “Exhibit A.” Stating further,
                  Exhibit 1, Plaintiff’s Third Amended Complaint alleges “In the
                  manner described more fully above, the named Defendants' and
                  its employees and agents deprived Fields of his constitutional
                  right to a fair trial by withholding and/ or destroying exculpatory
                  evidence, engaging in subornation of perjury, the coercion of
                  witnesses to produce false evidence against Fields and other
                  actions as described herein. These individuals also engaged in
                  the unduly suggestive identification procedures, as described
                  above.” (Def. Ex. 1, ¶86).

       186.      Count II of the TAC alleges “Defendants” failed to intervene to prevent

the withholding of exculpatory evidence and the fabrication of evidence. (TAC at ¶94).

       Response:      Plaintiff denies as incomplete. Stating further, Plaintiff’s Third
                      Amended Complaint alleges that “the individual Defendants
                      stood by without intervening to prevent the misconduct,
                      including but not limited to, the deliberate withholding of
                      exculpatory evidence showing Fields actual innocence and the
                      fabrication of evidence.” (Def. Ex. 1, ¶94).

       187.      Count III of the TAC alleges “Defendants” conspired among themselves

to deprive Plaintiff of his due process rights by fabricating evidence to frame him for

the Smith/Hickman murders. Plaintiff also alleges “Defendants” conspired to deprive

him of exculpatory evidence that would have led to his more timely exoneration. (TAC

at ¶¶ 99-100).

       Response:      Plaintiff denies as incomplete. Plaintiff alleges that the individual
                      Defendants conspired to deprive Fields of his constitutional
                      rights to a fair trial and liberty, subjected Fields to the death
                      penalty, and delayed his exoneration by fabricating and
                      withholding evidence.

       188.      Count IV of the TAC alleges “Defendant officers” were instrumental in

initiating and/or perpetuating a prosecution of Plaintiff for which there was no

probable cause. (TAC at ¶¶ 107-08).


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       Response:     Plaintiff objects to the characterization and rewording of the
                     complaint.

       189.    Count V of the TAC alleges the misconduct described in the pleading

constituted intentional infliction of emotional distress. (TAC at ¶114).

       Response:     Plaintiff objects to the characterization and rewording of the
                     complaint.

       190.    Count VI of the TAC alleges the misconduct of the “Defendants”

described in the pleading constituted a civil conspiracy. (TAC at ¶118).

       Response:     Plaintiff objects to the characterization and rewording of the
                     complaint. Stating further, Plaintiff alleges that the individual
                     Defendants acting in concert with other known and unknown co-
                     conspirators engaged in a civil conspiracy. (Def. Ex. 1, ¶118).

       191.    Counts VII and VIII of the TAC allege the City of Chicago should be

held liable for the actions of the defendant officers since their alleged misconduct

occurred within the scope of their employment activities. (TAC at ¶¶ 123, 129).

       Response:     Plaintiff objects to the characterization and rewording of the
                     complaint.

       192.    In July 2011, Plaintiff served answers to interrogatories propounded by

Defendants    Bogdalek, Minogue, Evans, Hood, Brannigan, Kolovitz, Murphy,

O’Callaghan, Casto,     Richardson, Kobel , and Robertson. (Exhibit 48, Plaintiff’s

Answers to Bogdalek’s Interrogatories; Exhibit 49, Plaintiff’s Answers to Minogue’s

Interrogatories; Exhibit 50, Plaintiff’s Answers to Evans’ Interrogatories; Exhibit

51, Plaintiff’s Answers to Hood’s Interrogatories; Exhibit 52, Plaintiff’s Answers to

Brannigan’s    Interrogatories;   Exhibit   53,   Plaintiff’s    Answers   to   Kolovitz’s

Interrogatories; Exhibit 54, Plaintiff’s Answers to             Murphy’s Interrogatories;


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Exhibit 55, Plaintiff’s Answers to O’Callaghan’s             Interrogatories; Exhibit 56,

Plaintiff’s Answers to Casto’s Interrogatories; Exhibit 57, Plaintiff’s Answers to

Richardson’s    Interrogatories;   Exhibit    58,   Plaintiff’s   Answers    to     Kobel’s

Interrogatories; Exhibit 59, Plaintiff’s Answers to Robertson’s Interrogatories).

       Response:    Plaintiff admits.

       193.    Plaintiff has never amended or supplemented his July 2011 answers

to the defendants’ interrogatories identified in the preceding paragraph. (Id.)

       Response:    Plaintiff denies. Over the course of discovery, Plaintiff has
                    supplemented discovery with numerous documents. For example,
                    documents Bates-stamped FIELDS 00151-00366, and two boxes of
                    documents with Bates-stamp starting with FIELDS 00367. (Pl. Ex.
                    148).



                                                  Respectfully Submitted,

                                                  /s/H. Candace Gorman
                                                  One of the Attorneys for Fields

For Fields:

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                             CERTIFICATE OF SERVICE


      I, H. Candace Gorman, hereby certify that the foregoing Response to Facts was

served to the parties by pursuant to the Court’s ECF filing system.


Dated: January 10, 2014



                                                Respectfully Submitted,

                                                /s/H. Candace Gorman
                                                One of the Attorneys for Fields



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